Fill in this information to identify your case:


United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this is an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Ryan                                                            Sarah
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's
     license or passport).         Middle name                                                     Middle name
     Bring your picture            Cole                                                            Cole
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.



2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
     assumed, trade names and AKA Ryan Carl Henry Cole                                             AKA Sarah Lee Cole
     doing business as names.
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.


3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-9521                                                     xxx-xx-3835
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
Debtor 1   Ryan Cole
Debtor 2   Sarah Cole                                                                                Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 6624 Eastview
                                 Sachse, TX 75048
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Dallas
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




 Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                page 2
Debtor 1    Ryan Cole
Debtor 2    Sarah Cole                                                                                    Case number (if known)


Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under      Chapter 7
                                      Chapter 11
                                      Chapter 12
                                      Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the          Yes.
     last 8 years?
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being          Yes.
    filed by a spouse who is
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?                      Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




 Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
Debtor 1    Ryan Cole
Debtor 2    Sarah Cole                                                                                     Case number (if known)


Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.       Go to Part 4.
    business?
                                      Yes.      Name and location of business
     A sole proprietorship is a
     business you operate as                    Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                  Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                       Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S. C. §            No.        I am not filing under Chapter 11.
    1182(1)?
    For a definition of small         No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11                     Code.
    U.S.C. § 101(51D).

                                      Yes.      I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                                I do not choose to proceed under Subchapter V of Chapter 11.

                                       Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                                choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is         Yes.
    alleged to pose a threat
    of imminent and                           What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                       If immediate attention is
    immediate attention?                      needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,              Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




 Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
Debtor 1    Ryan Cole
Debtor 2    Sarah Cole                                                                                 Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a
     so, you are not eligible to         a certificate of completion.                                  certificate of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after                through the internet, even after I reasonably tried to
                                               I reasonably tried to do so.                                 do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




 Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                page 5
Debtor 1    Ryan Cole
Debtor 2    Sarah Cole                                                                                    Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will                  Yes
     be available for
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?                            100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion

20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities        $50,001 - $100,000                             $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
    to be?                          $100,001 - $500,000                             $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                  More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Ryan Cole                                                     /s/ Sarah Cole
                                 Ryan Cole                                                         Sarah Cole
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on        March 23, 2024                                 Executed on      March 23, 2024
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




 Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
Debtor 1   Ryan Cole
Debtor 2   Sarah Cole                                                                                     Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. §
If you are not represented by   342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information
an attorney, you do not need    in the schedules filed with the petition is incorrect.
to file this page.
                                /s/ Robert T. DeMarco, III                                         Date          March 23, 2024
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Robert T. DeMarco, III
                                Printed name

                                Eric A. Liepins
                                Firm name

                                12770 Coit Road, Ste. 850
                                Suite 1100
                                Dallas, TX 75251
                                Number, Street, City, State & ZIP Code

                                Contact phone                                                Email address         robert@demarcomitchell.com
                                24014543 TX
                                Bar number & State




 Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
 Fill in this information to identify your case:

 Debtor 1                   Ryan Cole
                            First Name                          Middle Name                          Last Name

 Debtor 2                   Sarah Cole
 (Spouse if, filing)        First Name                          Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF TEXAS

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $          2,000,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             265,111.44

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          2,265,111.44

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             328,025.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $             485,525.26

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $         97,573,260.69


                                                                                                                                    Your total liabilities $            98,386,810.95


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                1,600.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              13,135.50

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or household
                purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
            court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                         page 1 of 2
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
 Debtor 1      Ryan Cole
 Debtor 2      Sarah Cole                                                                 Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                        $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $

       9d. Student loans. (Copy line 6f.)                                                                 $

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$


       9g. Total. Add lines 9a through 9f.                                                           $




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information             page 2 of 2
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
 Fill in this information to identify your case and this filing:

 Debtor 1                     Ryan Cole
                              First Name                                 Middle Name                    Last Name

 Debtor 2                     Sarah Cole
 (Spouse, if filing)          First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF TEXAS

 Case number                                                                                                                                                      Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?




 1.1                                                                             What is the property? Check all that apply
         6624 Eastview Dr.                                                              Single-family home                         Do not deduct secured claims or exemptions. Put
         Street address, if available, or other description
                                                                                                                                   the amount of any secured claims on Schedule D:
                                                                                        Duplex or multi-unit building              Creditors Who Have Claims Secured by Property.
                                                                                        Condominium or cooperative
                                                                                        Manufactured or mobile home
                                                                                                                                   Current value of the      Current value of the
         Sachse                            TX        75048                              Land                                       entire property?          portion you own?
         City                              State              ZIP Code                  Investment property                             $2,000,000.00              $2,000,000.00
                                                                                        Timeshare
                                                                                                                                   Describe the nature of your ownership interest
                                                                                        Other
                                                                                                                                   (such as fee simple, tenancy by the entireties, or
                                                                                 Who has an interest in the property? Check one    a life estate), if known.
                                                                                        Debtor 1 only
         Dallas                                                                         Debtor 2 only
         County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                        Check if this is community property
                                                                                        At least one of the debtors and another         (see instructions)
                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                     $2,000,000.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                   Schedule A/B: Property                                                                   page 1
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
 Debtor 1           Ryan Cole
 Debtor 2           Sarah Cole                                                                                  Case number (if known)

3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

                                                                                                                       Do not deduct secured claims or exemptions. Put
     3.1    Make:      GMC                                     Who has an interest in the property? Check one          the amount of any secured claims on Schedule D:
            Model:     Sierra Pickup                                 Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
            Year:      2020                                          Debtor 2 only                                     Current value of the      Current value of the
            Approximate mileage:                                     Debtor 1 and Debtor 2 only                        entire property?          portion you own?
            Other information:                                       At least one of the debtors and another


                                                                     Check if this is community property                      $27,000.00                  $27,000.00
                                                                      (see instructions)



                                                                                                                       Do not deduct secured claims or exemptions. Put
     3.2    Make:      Gulfstream                              Who has an interest in the property? Check one          the amount of any secured claims on Schedule D:
            Model:     RV                                            Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
            Year:      2006                                          Debtor 2 only                                     Current value of the      Current value of the
            Approximate mileage:                                     Debtor 1 and Debtor 2 only                        entire property?          portion you own?
            Other information:                                       At least one of the debtors and another
            This was purchased on contract
            by a 3rd party in August 2023.                           Check if this is community property                      $36,000.00                  $36,000.00
            We maintain loan and monthly                              (see instructions)

            payments are made to us for
            loan amount

                                                                                                                       Do not deduct secured claims or exemptions. Put
     3.3    Make:      Cadillac                                Who has an interest in the property? Check one          the amount of any secured claims on Schedule D:
            Model:     ESCALADE                                      Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
            Year:      2018                                          Debtor 2 only                                     Current value of the      Current value of the
            Approximate mileage:                                     Debtor 1 and Debtor 2 only                        entire property?          portion you own?
            Other information:                                       At least one of the debtors and another


                                                                     Check if this is community property                      $32,000.00                  $32,000.00
                                                                      (see instructions)



                                                                                                                       Do not deduct secured claims or exemptions. Put
     3.4    Make:      Corvette                                Who has an interest in the property? Check one          the amount of any secured claims on Schedule D:
            Model:     Chevy                                         Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
            Year:      2016                                          Debtor 2 only                                     Current value of the      Current value of the
            Approximate mileage:                                     Debtor 1 and Debtor 2 only                        entire property?          portion you own?
            Other information:                                       At least one of the debtors and another


                                                                     Check if this is community property                      $63,000.00                  $63,000.00
                                                                      (see instructions)



                                                                                                                       Do not deduct secured claims or exemptions. Put
     3.5    Make:      Mercedes Benz                           Who has an interest in the property? Check one          the amount of any secured claims on Schedule D:
            Model:     GLC 300                                       Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
            Year:      2021                                          Debtor 2 only                                     Current value of the      Current value of the
            Approximate mileage:                                     Debtor 1 and Debtor 2 only                        entire property?          portion you own?
            Other information:                                       At least one of the debtors and another


                                                                     Check if this is community property                      $50,000.00                  $50,000.00
                                                                      (see instructions)




Official Form 106A/B                                                       Schedule A/B: Property                                                                  page 2
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1            Ryan Cole
 Debtor 2            Sarah Cole                                                                                     Case number (if known)

4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

           No
           Yes

     4.1     Make:      StcII                                  Who has an interest in the property? Check one                Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
             Model:     Lawnmover                                    Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
                                                                                                                                                       Current value of the
             Year:      2020                                         Debtor 2 only                                           Current value of the      portion you own?
                                                                     Debtor 1 and Debtor 2 only                              entire property?
             Other information:                                      At least one of the debtors and another
                                                                     Check if this is community property                              $3,500.00                   $3,500.00
             riding lawnmower                                         (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>              $211,500.00

 Part 3: Describe Your Personal and          Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                  Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6.    Household goods and furnishings
      Examples: Major appliances, furniture, linens, china, kitchenware
        No
        Yes. Describe.....
                                    household furniture, beds, dresser, tables, chairs, etc.                                                                     $20,000.00


7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                including cell phones, cameras, media players, games
        No
        Yes. Describe.....
                                    television, computers cell phones                                                                                              $7,500.00


8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                 other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                musical instruments
        No
        Yes. Describe.....
                                    pool table                                                                                                                     $1,000.00


10.        Firearms
           Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe.....
                                    pistols and rifle                                                                                                              $1,000.00


11.        Clothes
           Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe.....
                                    clothes                                                                                                                        $7,500.00


Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 3
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
 Debtor 1       Ryan Cole
 Debtor 2       Sarah Cole                                                                          Case number (if known)

12.   Jewelry
      Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
       No
       Yes. Describe.....
                                    jewelry                                                                                                  $10,000.00


13.   Non-farm animals
      Examples: Dogs, cats, birds, horses
       No
       Yes. Describe.....
                                    2 Dogs                                                                                                           $0.00


14.   Any other personal and household items you did not already list, including any health aids you did not list
       No
       Yes. Give specific information.....
                                    tools and home maintenance equipment, outdoor furniture                                                    $5,000.00



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                    $52,000.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                     Current value of the
                                                                                                                                 portion you own?
                                                                                                                                 Do not deduct secured
                                                                                                                                 claims or exemptions.

16.   Cash
      Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       No
       Yes................................................................................................................
                                                                                                       Cash                                        $50.00


17.   Deposits of money
      Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                    institutions. If you have multiple accounts with the same institution, list each.
       No
       Yes........................                                     Institution name:


                                      17.1.    Checking                  Chase 1622                                                                  $5.00



                                      17.2.    Checking                  Chase #6539 (163,680.13)                                                    $0.00



                                      17.3.                              Chase SV #6202                                                              $5.33



                                      17.4.                              Chase #8405                                                                 $5.00



                                      17.5.    Checking                  Chase                                                                     $17.64



                                      17.6.                              Chase SV                                                                    $5.74



Official Form 106A/B                                                 Schedule A/B: Property                                                          page 4
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
 Debtor 1       Ryan Cole
 Debtor 2       Sarah Cole                                                                          Case number (if known)



                                      17.7.    Checking                  Wells Fargo                                                                   $7.73



                                      17.8.    Checking                  Credit Union of Texas                                                       $15.00


18.   Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       No
       Yes..................        Institution or issuer name:

19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
      and joint venture
       No
       Yes. Give specific information about them...................
                                 Name of entity:                                          % of ownership:
                                 Platinum Team Management, Inc.                                 100        %                           $0.00

                                         Daydra Management, LLC                                           15%        %                                 $0.00

                                         Serene District Townhomes, LLC                                  100%        %                                 $0.00

                                         The District Lifestyle, LLC                                     100%        %                                 $0.00

                                         District Lifestyles Wylie, LLC                                  100%        %                                 $0.00

                                         Platinum Real Estate Funding, LLC                               100%        %                                 $0.00

                                         Paramount Real Estate Holdings VI, LLC                          100%        %                                 $0.00

                                         Top Chef Catering                                               100%        %                                 $0.00

                                         Sarenity Herbal Apothecary, LLC                                 100%        %                                 $0.00


20.   Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No
       Yes. Give specific information about them
                                         Issuer name:

21.   Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
       Yes. List each account separately.
                                Type of account:                Institution name:

22.   Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
       No
       Yes. .....................                               Institution name or individual:

23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............   Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............  Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
       No
       Yes. Give specific information about them...
Official Form 106A/B                                                 Schedule A/B: Property                                                            page 5
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
 Debtor 1        Ryan Cole
 Debtor 2        Sarah Cole                                                                                                      Case number (if known)


26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific information about them...

27.   Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes. Give specific information about them...

 Money or property owed to you?                                                                                                                                 Current value of the
                                                                                                                                                                portion you own?
                                                                                                                                                                Do not deduct secured
                                                                                                                                                                claims or exemptions.

28.    Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29.   Family support
      Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......


30.   Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay,                                    workers’ compensation, Social Security
                benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information..

31.   Interests in insurance policies
      Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                    Company name:                                           Beneficiary:                                                          Surrender or refund
                                                                                                                                                                  value:

32.    Any interest in property that is due you from someone who has died
      If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
      someone has died.
        No
        Yes. Give specific information..


33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
      Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34.    Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35.    Any financial assets you did not already list
        No
        Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                $111.44

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.   Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes.    Go to line 38.


                                                                                                                                                                Current value of the
Official Form 106A/B                                                           Schedule A/B: Property                                                                             page 6
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                                       Best Case Bankruptcy
 Debtor 1        Ryan Cole
 Debtor 2        Sarah Cole                                                                                                       Case number (if known)

                                                                                                                                                               portion you own?
                                                                                                                                                               Do not deduct secured
                                                                                                                                                               claims or exemptions.

38.    Accounts receivable or commissions you already earned
        No
        Yes. Describe.....


39.   Office equipment, furnishings, and supplies
      Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
       No
       Yes. Describe.....

                                       computer, desk, chair, filing cabinet                                                                                                $1,000.00


40.    Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
        No
        Yes. Describe.....


41.    Inventory
        No
        Yes. Describe.....


42.    Interests in partnerships or joint ventures
        No
        Yes. Give specific information about them...................
                                  Name of entity:                                                                                   % of ownership:


43.    Customer lists, mailing lists, or other compilations
       No.
       Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

                  No
                  Yes.     Describe.....


44.    Any business-related property you did not already list
        No
        Yes. Give specific information.........


                                            sarenity herbal apothecary: ingredients and equipment                                                                             $500.00



 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................            $1,500.00

 Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
             If you own or have an interest in farmland, list it in Part 1.

46.    Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

53.   Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                    ....................................                 $0.00
Official Form 106A/B                                                           Schedule A/B: Property                                                                             page 7
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
 Debtor 1         Ryan Cole
 Debtor 2         Sarah Cole                                                                                                         Case number (if known)


 Part 8:        List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................        $2,000,000.00
 56. Part 2: Total vehicles, line 5                                                                       $211,500.00
 57. Part 3: Total personal and household items, line 15                                                   $52,000.00
 58. Part 4: Total financial assets, line 36                                                                  $111.44
 59. Part 5: Total business-related property, line 45                                                       $1,500.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                  $0.00
 61. Part 7: Total other property not listed, line 54                                           +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                  $265,111.44               Copy personal property total        $265,111.44

 63. Total of all property on Schedule A/B. Add line 55 + line 62
                                                                                                                                                                   $2,265,111.44




Official Form 106A/B                                                              Schedule A/B: Property                                                                         page 8
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                                    Best Case Bankruptcy
 Fill in this information to identify your case:

 Debtor 1                Ryan Cole
                         First Name                         Middle Name                  Last Name

 Debtor 2                Sarah Cole
 (Spouse if, filing)     First Name                         Middle Name                  Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF TEXAS

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt
4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions.            11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      6624 Eastview Dr. , Sachse, TX 75048                           $2,000,000.00                         $1,859,000.00       25 U.S.C. § 412a
      Dallas County
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2018 Cadillac ESCALADE                                           $32,000.00                              $14,948.00      Tex. Prop. Code §§
      Line from Schedule A/B: 3.3                                                                                              42.001(a)(1), (2), 42.002(a)(9)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      2016 Corvette Chevy                                              $63,000.00                                $4,000.00     Tex. Prop. Code §§
      Line from Schedule A/B: 3.4                                                                                              42.001(a)(1), (2), 42.002(a)(9)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      2020 GMC Sierra Pickup                                           $27,000.00                                $4,342.00     Tex. Prop. Code §§
      Line from Schedule A/B: 3.1                                                                                              42.001(a)(1), (2), 42.002(a)(9)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      2020 StcII Lawnmover                                              $3,500.00                                $2,592.00     Tex. Prop. Code §§
      riding lawnmower                                                                                                         42.001(a)(1), (2), 42.002(a)(4)
      Line from Schedule A/B: 4.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
 Debtor 1    Ryan Cole
 Debtor 2    Sarah Cole                                                                                  Case number (if known)
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     household furniture, beds, dresser,                             $20,000.00                                $20,000.00         Tex. Prop. Code §§
     tables, chairs, etc.                                                                                                         42.001(a)(1), (2), 42.002(a)(1)
     Line from Schedule A/B: 6.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     television, computers cell phones                                $7,500.00                                  $2,000.00        Tex. Prop. Code §§
     Line from Schedule A/B: 7.1                                                                                                  42.001(a)(1), (2), 42.002(a)(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     pool table                                                       $1,000.00                                  $1,000.00        Tex. Prop. Code §§
     Line from Schedule A/B: 9.1                                                                                                  42.001(a)(1), (2), 42.002(a)(8)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     pistols and rifle                                                $1,000.00                                  $1,000.00        Tex. Prop. Code §§
     Line from Schedule A/B: 10.1                                                                                                 42.001(a)(1), (2), 42.002(a)(7)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     clothes                                                          $7,500.00                                  $7,500.00        Tex. Prop. Code §§
     Line from Schedule A/B: 11.1                                                                                                 42.001(a)(1), (2), 42.002(a)(5)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     jewelry                                                         $10,000.00                                $10,000.00         Tex. Prop. Code §§
     Line from Schedule A/B: 12.1                                                                                                 42.001(a)(1), (2), 42.002(a)(6)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     tools and home maintenance                                       $5,000.00                                  $5,000.00        Tex. Prop. Code §§
     equipment, outdoor furniture                                                                                                 42.001(a)(1), (2), 42.002(a)(1)
     Line from Schedule A/B: 14.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     computer, desk, chair, filing cabinet                            $1,000.00                                  $1,000.00        Tex. Prop. Code §§
     Line from Schedule A/B: 39.1                                                                                                 42.001(a)(1), (2), 42.002(a)(4)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $189,050?
    (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 2 of 2
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
 Fill in this information to identify your case:

 Debtor 1                   Ryan Cole
                            First Name                      Middle Name                     Last Name

 Debtor 2                   Sarah Cole
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF TEXAS

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Credit Union of Texas                    Describe the property that secures the claim:                 $59,000.00               $63,000.00                     $0.00
         Creditor's Name                          2016 Corvette Chevy


                                                  As of the date you file, the claim is: Check all that
         P.O. Box 7000                            apply.
         Allen, TX 75013                              Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
     Check if this claim relates to a                 Other (including a right to offset)
      community debt

 Date debt was incurred          6/1/2020                  Last 4 digits of account number        6480

         Mercedes benz Financial
 2.2
         Services                                 Describe the property that secures the claim:                 $51,979.00               $50,000.00            $1,979.00
         Creditor's Name                          2021 Mercedes Benz GLC 300


                                                  As of the date you file, the claim is: Check all that
         P.O. Box 5209                            apply.
         Carol Stream, IL 60197                       Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
     Check if this claim relates to a                 Other (including a right to offset)
      community debt

 Date debt was incurred          125/2023                  Last 4 digits of account number        9001




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
 Debtor 1 Ryan Cole                                                                                       Case number (if known)
              First Name                 Middle Name                     Last Name
 Debtor 2 Sarah Cole
              First Name                 Middle Name                     Last Name


 2.3   Sheffield                                  Describe the property that secures the claim:                      $908.00        $3,500.00             $0.00
       Creditor's Name                            2020 StcII Lawnmover
                                                  riding lawnmower

                                                  As of the date you file, the claim is: Check all that
       P.O. Box 580229                            apply.
       Charlotte, NC 28258                             Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
     community debt

 Date debt was incurred        6/1/2020                    Last 4 digits of account number        8590

 2.4   TD Auto Finance                            Describe the property that secures the claim:                  $17,052.00        $32,000.00             $0.00
       Creditor's Name                            2018 Cadillac


                                                  As of the date you file, the claim is: Check all that
       P.O. Box 580229                            apply.
       Charlotte, NC 28258                             Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
     community debt

 Date debt was incurred                                    Last 4 digits of account number


 2.5   TD Auto Finance                            Describe the property that secures the claim:                  $22,658.00        $27,000.00             $0.00
       Creditor's Name



                                                  As of the date you file, the claim is: Check all that
       P.O. Box 1000195                           apply.
       Columbia, SC 29202                              Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
     community debt

 Date debt was incurred        9/8/2020                    Last 4 digits of account number        7292




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 3
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
 Debtor 1 Ryan Cole                                                                                       Case number (if known)
              First Name                 Middle Name                     Last Name
 Debtor 2 Sarah Cole
              First Name                 Middle Name                     Last Name


 2.6   TTCU                                       Describe the property that secures the claim:                  $35,428.00           $36,000.00                $0.00
       Creditor's Name                            2006 Gulfstream RV
                                                  This was purchased on contract by
                                                  a 3rd party in August 2023. We
                                                  maintain loan and monthly
                                                  payments are made to us for loan
                                                  amount
                                                  As of the date you file, the claim is: Check all that
       PO Box 477550                              apply.
       Tulsa, OK 74147                                 Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
     community debt

 Date debt was incurred                                    Last 4 digits of account number        6020

 2.7   Wells Fargo                                Describe the property that secures the claim:                 $141,000.00        $2,000,000.00       $141,000.00
       Creditor's Name                            home


                                                  As of the date you file, the claim is: Check all that
       P.O. Box 51162                             apply.
       Los Angeles, CA 90051                           Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
     community debt

 Date debt was incurred        10/15/2012                  Last 4 digits of account number        9831


   Add the dollar value of your entries in Column A on this page. Write that number here:                               $328,025.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                              $328,025.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 3 of 3
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
 Fill in this information to identify your case:

 Debtor 1                     Ryan Cole
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Sarah Cole
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                NORTHERN DISTRICT OF TEXAS

 Case number
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:         List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
          Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim        Priority              Nonpriority
                                                                                                                                         amount                amount

 2.1          Internal Revenue Service                               Last 4 digits of account number                     $226,918.00         $226,918.00                    $0.00
              Priority Creditor's Name
              1100 Commerce Street                                   When was the debt incurred?
              Mail Code 5027-DAL
              Dallas, TX 75252
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations
          Check if this claim is for a      community                   Taxes and certain other debts you owe the government
        debt                                                            Claims for death or personal injury while you were intoxicated
        Is the claim subject to offset?                                 Other. Specify
            No                                                                           payroll taxes- villa asuncion
            Yes


 2.2          Internal Revenue Service                               Last 4 digits of account number                     $258,607.26         $258,607.26                    $0.00
              Priority Creditor's Name
              1100 Commerce Street                                   When was the debt incurred?
              Mail Code 5027- DAL
              Dallas, TX 75242
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations
          Check if this claim is for a      community                   Taxes and certain other debts you owe the government
        debt                                                            Claims for death or personal injury while you were intoxicated
        Is the claim subject to offset?                                 Other. Specify
            No                                                                           Payroll taxes - Daydra
            Yes



 Part 2:         List All of Your NONPRIORITY Unsecured Claims

Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 1 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                               Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)
 3.    Do any creditors have nonpriority unsecured claims against you?
          No. You have nothing to report in this part. Submit this form to the court with your other schedules.
          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                           Total claim

 4.1        356 Vetures LLC                                          Last 4 digits of account number                                                                $156,250.00
            Nonpriority Creditor's Name
            1841 Tranquility Court                                   When was the debt incurred?
            Prosper, TX 75078
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                Debtor 1 only                                           Contingent
                Debtor 2 only                                           Unliquidated
                Debtor 1 and Debtor 2 only                              Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:
                Check if this claim is for a community                  Student loans
            debt                                                        Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims
                No                                                      Debts to pension or profit-sharing plans, and other similar debts
                 Yes                                                    Other. Specify    Business Debt


 4.2        4 Change Energy                                          Last 4 digits of account number        5742                                                       $2,768.74
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?
            P.O. Box 660361
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                Debtor 1 only                                           Contingent
                Debtor 2 only                                           Unliquidated
                Debtor 1 and Debtor 2 only                              Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:
                Check if this claim is for a community                  Student loans
            debt                                                        Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims
                No                                                      Debts to pension or profit-sharing plans, and other similar debts
                Yes                                                     Other. Specify



 4.3        84 Lumber Company LP                                     Last 4 digits of account number                                                                   $4,404.34
            Nonpriority Creditor's Name
            P.O. Box 365                                             When was the debt incurred?
            Eighty Four, PA 15330
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                Debtor 1 only                                           Contingent
                Debtor 2 only                                           Unliquidated
                Debtor 1 and Debtor 2 only                              Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:
                Check if this claim is for a community                  Student loans
            debt                                                        Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims
                No                                                      Debts to pension or profit-sharing plans, and other similar debts
                 Yes                                                    Other. Specify    Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                Page 2 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.4      ACT Pipe and Supply, Inc                                   Last 4 digits of account number                                                     $230,665.60
          Nonpriority Creditor's Name
          c/o Carl Thompson                                          When was the debt incurred?
          10900 Brittmoore Park Drive
          Suite L
          Houston, TX 77041
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.5      Adam Deeb                                                  Last 4 digits of account number                                                     $352,000.00
          Nonpriority Creditor's Name
          c/o Steve LeBrocq                                          When was the debt incurred?
          2828 Trinity Mill Road
          Suite 221
          Carrollton, TX 75006
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.6      Adam Smock                                                 Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          3416 Endicott                                              When was the debt incurred?
          Wylie, TX 75098
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 3 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.7      Adkan Engineers                                            Last 4 digits of account number                                                      $41,880.00
          Nonpriority Creditor's Name
          6879 Airport Drive                                         When was the debt incurred?
          Riverside, CA 92504
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.8      Alphaeon                                                   Last 4 digits of account number       1720                                             $2,088.14
          Nonpriority Creditor's Name
          P.O. Box 650965                                            When was the debt incurred?
          Dallas, TX 75265
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify



 4.9      American Arbitration Association                           Last 4 digits of account number                                                        $8,001.00
          Nonpriority Creditor's Name
          13727 Noel Road                                            When was the debt incurred?
          Suite 700
          Dallas, TX 75240
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 4 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.1
 0        American Arbitration Association                           Last 4 digits of account number       4803                                           $14,641.88
          Nonpriority Creditor's Name
          150 N. Michigan Ave., Ste. 3050                            When was the debt incurred?
          Chicago, IL 60601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 1        Amerifactors Financial Group, LLC                          Last 4 digits of account number                                                     $912,893.88
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?
          1170 Celebration Blvd., Suite 100
          Celebration, FL 34747
             32863-4747
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 2        Amerigas                                                   Last 4 digits of account number       7514                                             $1,339.03
          Nonpriority Creditor's Name
          PO Box 660288                                              When was the debt incurred?
          Dallas, TX 75266
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 5 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.1
 3        Aminda Rodriquez Rockshead                                 Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          130 Creek side Dr                                          When was the debt incurred?
          Plano, TX 75094
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 4        Bank of America                                            Last 4 digits of account number       1110                                             $1,002.56
          Nonpriority Creditor's Name
          P.O. Box 851001                                            When was the debt incurred?
          Dallas, TX 75285
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify


 4.1
 5        Bank OZK                                                   Last 4 digits of account number                                                    $1,283,533.40
          Nonpriority Creditor's Name
          PO Box 196                                                 When was the debt incurred?
          Ozark, AR 72949
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 6 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.1
 6        barclay                                                    Last 4 digits of account number       2470                                               $2,519.44
          Nonpriority Creditor's Name
          P.O. Box 60517                                             When was the debt incurred?
          City of Industry, CA 91716
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify


 4.1
 7        Blackbeard Holdco, LLC                                     Last 4 digits of account number                                                       $106,330.42
          Nonpriority Creditor's Name
          c/o Matt Hudson                                            When was the debt incurred?
          201 Main Street
          Suite 1900
          Fort Worth, TX 76102
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1      BLC Princeton            to BLC Prime
 8        Lending Fund                                               Last 4 digits of account number       1561                                         $11,345,227.56
          Nonpriority Creditor's Name
          15375 Barranca Parkway                                     When was the debt incurred?
          Suite B
          Irvine, CA 92618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 7 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.1
 9        Bo Lei & Phiyen Ren                                        Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          1571 St REgis                                              When was the debt incurred?
          San Jose, CA 95124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.2
 0        Brain Hurst                                                Last 4 digits of account number                                                      $19,240.00
          Nonpriority Creditor's Name
          4900 Gage Ave                                              When was the debt incurred?
          Apt 622
          Fort Worth, TX 76109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.2
 1        Cameron Purcell                                            Last 4 digits of account number                                                     $750,000.00
          Nonpriority Creditor's Name
          4719 Markham Woods Court                                   When was the debt incurred?
          Suite 3A2
          Kingwood, TX 77345
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 8 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.2
 2        Capital One                                                Last 4 digits of account number       8770                                           $30,443.91
          Nonpriority Creditor's Name
          P.O. Box 60519                                             When was the debt incurred?
          City of Industry, CA 91716
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify


 4.2
 3        Cardinal health 110 & 200 LLC                              Last 4 digits of account number                                                    $2,036,002.98
          Nonpriority Creditor's Name
          c/o Susan Cliffel                                          When was the debt incurred?
          250 E Fifth St
          Suite 2200
          Cincinnati, OH 45202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.2
 4        Care Credit                                                Last 4 digits of account number       6790                                           $18,730.60
          Nonpriority Creditor's Name
          P.O. Box 71715                                             When was the debt incurred?
          Philadelphia, PA 19176
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 9 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.2
 5        Careflight                                                 Last 4 digits of account number                                                        $1,575.94
          Nonpriority Creditor's Name
          P.O. Box 6511                                              When was the debt incurred?
          Carol Stream, IL 60197
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify



 4.2      Carrington Colman Sloman &
 6        Blumenthal                                                 Last 4 digits of account number                                                      $93,073.81
          Nonpriority Creditor's Name
          901 Main Street                                            When was the debt incurred?
          Suite 550
          Dallas, TX 75202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.2
 7        Central Bank                                               Last 4 digits of account number                                                    $9,600,000.00
          Nonpriority Creditor's Name
          c/o Brian Holland                                          When was the debt incurred?
          2345 Grand Blvd
          Suite 2800
          Kansas City, MO 64108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 10 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.2
 8        Changtai Wang                                              Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          18700 W 10 Mile Road                                       When was the debt incurred?
          Suite 2800
             40875
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.2
 9        Charter Communication                                      Last 4 digits of account number       7001                                           $60,379.33
          Nonpriority Creditor's Name
          Spectrum Enterprises                                       When was the debt incurred?
          PO Box 223085
          Pittsburgh, PA 15251
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.3
 0        Christopher Brown                                          Last 4 digits of account number                                                      $61,436.50
          Nonpriority Creditor's Name
          777 Main Street                                            When was the debt incurred?
          Suite 2790
          Fort Worth, TX 76105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 11 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.3
 1        Cicero France & Alexander, PC                              Last 4 digits of account number                                                        $8,614.00
          Nonpriority Creditor's Name
          6323 E Riverside                                           When was the debt incurred?
          Rockford, IL 61114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.3
 2        Citi Advantage                                             Last 4 digits of account number       1068                                           $16,482.48
          Nonpriority Creditor's Name
          P.O. Box 78045                                             When was the debt incurred?
          Phoenix, AZ 85062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify


 4.3
 3        Citi Costco                                                Last 4 digits of account number       0852                                             $3,770.96
          Nonpriority Creditor's Name
          P.O. Box 900106                                            When was the debt incurred?
          Louisville, KY 40290
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 12 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.3
 4        City Ambulance Service                                     Last 4 digits of account number                                                        $2,443.81
          Nonpriority Creditor's Name
          P.O. Box 691067                                            When was the debt incurred?
          Houston, TX 77269
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify


 4.3
 5        City of Plano Fire           Dept                          Last 4 digits of account number                                                           $805.00
          Nonpriority Creditor's Name
          P.O. Box 46067                                             When was the debt incurred?
          Houston, TX 77210
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify


 4.3
 6        Clement Services                                           Last 4 digits of account number                                                        $3,811.00
          Nonpriority Creditor's Name
          2736 Ludelle Street                                        When was the debt incurred?
          Fort Worth, TX 76105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 13 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.3
 7        Cliff Sullivan                                             Last 4 digits of account number                                                     $300,879.00
          Nonpriority Creditor's Name
          15758 SE Highway 224                                       When was the debt incurred?
          Damascus, OR 97089
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.3
 8        Cloundfund, llc                                            Last 4 digits of account number                                                      $54,223.00
          Nonpriority Creditor's Name
          187 WOLF ROAD, SUITE 101                                   When was the debt incurred?
          ALBANY NY 12205

               10091
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.3
 9        Curtis Law                                                 Last 4 digits of account number                                                        $6,661.79
          Nonpriority Creditor's Name
          901 Main Street                                            When was the debt incurred?
          Suite 6515
          Dallas, TX 75202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 14 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.4
 0        Dale Phillips                                              Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          424 Pleasant Run                                           When was the debt incurred?
          Plano, TX 75094
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.4
 1        Dallas Lite and Barricade                                  Last 4 digits of account number                                                      $97,360.46
          Nonpriority Creditor's Name
          2822 N Beach                                               When was the debt incurred?
          Fort Worth, TX 76111
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.4
 2        David Lagat                                                Last 4 digits of account number                                                     $400,000.00
          Nonpriority Creditor's Name
          7278 Glen View Drive                                       When was the debt incurred?
          North Richland Hills, TX 76180
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 15 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.4
 3        Dell Upshaw                                                Last 4 digits of account number                                                     $300,000.00
          Nonpriority Creditor's Name
          18271 CR 913                                               When was the debt incurred?
          Nevada, TX 75173
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.4
 4        Delta Bridge Funding LLC                                   Last 4 digits of account number                                                      $18,879.00
          Nonpriority Creditor's Name
          400 Rella Blvd                                             When was the debt incurred?
          Suite 165-101
          Suffern, NY 10901
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.4
 5        Diverse Capital, LLC                                       Last 4 digits of account number                                                     $146,341.00
          Nonpriority Creditor's Name
          244 5th Ave                                                When was the debt incurred?
          Suite P297
          New York, NY 10001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 16 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.4
 6        DML Capital                                                Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          24032 SE 21st St.                                          When was the debt incurred?
          Sammamish, WA 98075
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.4
 7        DML Capital Mortgage Fund                                  Last 4 digits of account number                                                     $318,450.00
          Nonpriority Creditor's Name
          24032 SE 21st                                              When was the debt incurred?
          Sammamish, WA 98075
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.4
 8        DML Capital Mortgage Fund, LLC                             Last 4 digits of account number                                                     $471,739.00
          Nonpriority Creditor's Name
          Lionscove HQ                                               When was the debt incurred?
          2018 156th Ave NE
          Bellevue, WA 98007
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 17 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.4
 9        DOL Kansas                                                 Last 4 digits of account number                                                    $1,676,588.65
          Nonpriority Creditor's Name
          1222 Spruce St                                             When was the debt incurred?
          Room 9 102B
          Saint Louis, MO 63103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.5
 0        Dr Ed Acosta                                               Last 4 digits of account number                                                    $3,000,000.00
          Nonpriority Creditor's Name
          6521 Geneseo Circle                                        When was the debt incurred?
          Plano, TX 75023
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.5
 1        Dream Realty                                               Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          2510 Doyle                                                 When was the debt incurred?
          Sachse, TX 75048
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 18 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.5
 2        EBF Holdings dba EverestFunding                            Last 4 digits of account number                                                      $68,995.00
          Nonpriority Creditor's Name
          5 West 37th Street                                         When was the debt incurred?
          Suite 1100
          New York, NY 10018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.5
 3        Ebrahim Khiyami & Paiyen Jamel                             Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          7611 Ridgebluff                                            When was the debt incurred?
          Sachse, TX 75048
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.5
 4        EBSA                                                       Last 4 digits of account number       9485                                             Unknown
          Nonpriority Creditor's Name
          Department of Labor                                        When was the debt incurred?
          401 SW Tokepa
          Topeka, KS 66603
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 19 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.5
 5        EBSA                                                       Last 4 digits of account number       9197                                             Unknown
          Nonpriority Creditor's Name
          Department of Labor                                        When was the debt incurred?
          401 SW Topeka
          Topeka, KS 66603
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.5
 6        Emergency Physicians Group                                 Last 4 digits of account number                                                        $1,123.00
          Nonpriority Creditor's Name
          P.O. Box 3689, Dept 57                                     When was the debt incurred?
          Sugar Land, TX 77487
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify


 4.5
 7        Erin Gash                                                  Last 4 digits of account number                                                     $167,149.00
          Nonpriority Creditor's Name
          17070 W 93rd Place                                         When was the debt incurred?
          Leawood, KS 66209
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 20 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.5
 8        Flash Funding Services, Inc                                Last 4 digits of account number                                                     $154,861.00
          Nonpriority Creditor's Name
          112 W 34th Street                                          When was the debt incurred?
          Suite 18063
          New York, NY 10120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.5
 9        G Crete LLC                                                Last 4 digits of account number                                                      $74,892.66
          Nonpriority Creditor's Name
          1224 US 377                                                When was the debt incurred?
          Suite 303 PMB 55
          Roanoke, TX 76262
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.6
 0        G Crete Texas LLC                                          Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          9900 Spectrum                                              When was the debt incurred?
          Austin, TX 78701
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 21 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.6
 1        Greenwood JV                                               Last 4 digits of account number                                                     $250,000.00
          Nonpriority Creditor's Name
          c/o Kenny Knox                                             When was the debt incurred?
          1112 Serenade Lane
          Richardson, TX 75081
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.6
 2        Grey Wolf                                                  Last 4 digits of account number                                                    $1,000,000.00
          Nonpriority Creditor's Name
          154 Lemon Road                                             When was the debt incurred?
          Farmingdale, NJ 07727
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.6
 3        Harold Deiter                                              Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          1324 iron Dale                                             When was the debt incurred?
          Wylie, TX 75098
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 22 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.6
 4        Heartplace                                                 Last 4 digits of account number                                                           $420.00
          Nonpriority Creditor's Name
          Attn: 1919 SW                                              When was the debt incurred?
          P.O. Box 1400
          Belfast, ME 04915
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify


 4.6
 5        Holt Texas ltd                                             Last 4 digits of account number                                                     $170,255.24
          Nonpriority Creditor's Name
          3302 South W.W. White Road                                 When was the debt incurred?
          San Antonio, TX 78220
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify


 4.6
 6        Hudson Energy                                              Last 4 digits of account number                                                      $27,264.12
          Nonpriority Creditor's Name
          5251 Westheimer                                            When was the debt incurred?
          Suite 1000
          Houston, TX 77056
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 23 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.6
 7        Huishong Zhang                                             Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          18799 10 mile Road                                         When was the debt incurred?
          Suite 2800
          Southfield, MI 48075
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.6
 8        InCorp                                                     Last 4 digits of account number                                                           $649.00
          Nonpriority Creditor's Name
          3773 Howard Hughes                                         When was the debt incurred?
          Suite 500S
          Las Vegas, NV 89169
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.6
 9        Itria Venturees LLC                                        Last 4 digits of account number                                                    $1,647,563.49
          Nonpriority Creditor's Name
          Duane Morris                                               When was the debt incurred?
          One Penn Place
          Suite 4520
          New York, NY 10119
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 24 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.7
 0        Jacob Ojo                                                  Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          10 HArper Drive                                            When was the debt incurred?
          Allen, TX 75002
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.7
 1        Jeanette Quinn                                             Last 4 digits of account number                                                    $7,612,573.96
          Nonpriority Creditor's Name
          103 Ripley St                                              When was the debt incurred?
          Columbia, MO 65201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.7
 2        Jeffrey Slusher                                            Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          4227 Parkridge                                             When was the debt incurred?
          Sachse, TX 75048
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 25 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.7
 3        JHW Land Investments                                       Last 4 digits of account number                                                     $750,000.00
          Nonpriority Creditor's Name
          7957 Himingway ave                                         When was the debt incurred?
          El Cajon, CA 92020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.7
 4        JHW Land Investments                                       Last 4 digits of account number                                                    $7,500,000.00
          Nonpriority Creditor's Name
          7957 Hemingway Av.                                         When was the debt incurred?
          San Diego, CA 92120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.7
 5        Joachim & Hede Wolff Family Trust                          Last 4 digits of account number                                                     $610,000.00
          Nonpriority Creditor's Name
          7957 Hemingway Ave                                         When was the debt incurred?
          San Diego, CA 92120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 26 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.7
 6        John Monterio, 4X Ventures &                               Last 4 digits of account number                                                     $699,978.43
          Nonpriority Creditor's Name
          JMM Enterprises                                            When was the debt incurred?
          10003 Harbor Hideaway
          Frisco, TX 75036
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.7
 7        Jonathan Collins                                           Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          325 N St Paul                                              When was the debt incurred?
          Suite 3100
          Dallas, TX 75201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify


 4.7
 8        Jue Ye                                                     Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          18700 10 mile Road                                         When was the debt incurred?
          Suite 2800
          Southfield, MI 48075
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 27 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.7
 9        Juzhu Jaing                                                Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          Room 1502 Building 6                                       When was the debt incurred?
          Lane 25 Huangljincheng
          2011103 China
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.8
 0        Kathleen Harkleroad                                        Last 4 digits of account number                                                     $688,119.00
          Nonpriority Creditor's Name
          c/o Ross Wells                                             When was the debt incurred?
          1700 Redbud, Suite 300
          P.O. Box 1210
          McKinney, TX 75069
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.8
 1        Kathryn Burns                                              Last 4 digits of account number                                                     $550,000.00
          Nonpriority Creditor's Name
          6368 W 80th Street                                         When was the debt incurred?
          Los Angeles, CA 90045
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 28 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.8
 2        KRJL LLC                                                   Last 4 digits of account number                                                     $688,119.34
          Nonpriority Creditor's Name
          c/o Ross Wells                                             When was the debt incurred?
          1700 Redbud Blvd
          Suite 300, P.O. Box 1210
          McKinney, TX 75069
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.8
 3        Labcorp                                                    Last 4 digits of account number                                                            $82.40
          Nonpriority Creditor's Name
          P.O. Box 2240                                              When was the debt incurred?
          Burlington, NC 27216
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify


 4.8
 4        Lakeshore RE Capital Ventures                              Last 4 digits of account number                                                    $3,688,617.00
          Nonpriority Creditor's Name
          1003 Harbour Hideaway                                      When was the debt incurred?
          Frisco, TX 75036
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 29 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.8
 5        Lakeshore RE Cpital II, LLC                                Last 4 digits of account number                                                    $2,323,991.00
          Nonpriority Creditor's Name
          1003 Harbor Hideaway                                       When was the debt incurred?
          Frisco, TX 75036
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.8
 6        Larry Pedracini                                            Last 4 digits of account number                                                     $260,000.00
          Nonpriority Creditor's Name
          10222 NE Thompson                                          When was the debt incurred?
          Portland, OR 97220
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.8
 7        Loren Kenlman Roth 401k                                    Last 4 digits of account number                                                     $450,000.00
          Nonpriority Creditor's Name
          13206 NE 47th St                                           When was the debt incurred?
          Bellevue, WA 98005
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 30 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.8
 8        Lou Losanes                                                Last 4 digits of account number                                                    $2,000,000.00
          Nonpriority Creditor's Name
          501 Life Spring Drive                                      When was the debt incurred?
          Rockwall, TX 75087
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.8
 9        MAAP                                                       Last 4 digits of account number                                                     $218,904.65
          Nonpriority Creditor's Name
          344 #rd St.                                                When was the debt incurred?
          Baton Rouge, LA 70801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.9
 0        Mainstreet Health Ventures                                 Last 4 digits of account number                                                     $465,000.00
          Nonpriority Creditor's Name
          Shaneel Latani                                             When was the debt incurred?
          34 Peachtree St NW
          Suite 2800
          Atlanta, GA 30303
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 31 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.9
 1        Mastrogiovanni PLLC                                        Last 4 digits of account number                                                     $157,698.07
          Nonpriority Creditor's Name
          8080 N central Expressway                                  When was the debt incurred?
          Suite 1300
          Dallas, TX 75206
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.9
 2        McGinnis Lochridge                                         Last 4 digits of account number                                                        $2,475.00
          Nonpriority Creditor's Name
          1111 W 6th St                                              When was the debt incurred?
          Building B Suite 400
          Austin, TX 78703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.9
 3        Medpost Urgent Care                                        Last 4 digits of account number                                                           $183.00
          Nonpriority Creditor's Name
          P.O. Box 843206                                            When was the debt incurred?
          Dallas, TX 75284
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 32 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.9
 4        Methodist Health System                                    Last 4 digits of account number                                                           $826.30
          Nonpriority Creditor's Name
          P.O. Box 733536                                            When was the debt incurred?
          Dallas, TX 75393
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify


 4.9
 5        MIller Bates                                               Last 4 digits of account number                                                    $3,000,000.00
          Nonpriority Creditor's Name
          1245 Brickyard Road                                        When was the debt incurred?
          Suite 100
          Salt Lake City, UT 84106
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.9
 6        Milton Barboza                                             Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          5128 Blackwood                                             When was the debt incurred?
          McKinney, TX 75071
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 33 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.9
 7        Monterey Development, LLC                                  Last 4 digits of account number                                                     $320,000.00
          Nonpriority Creditor's Name
          c/o Edward Saldana                                         When was the debt incurred?
          675 Town Square Blvd.
          Suite 200
          Garland, TX 75040
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.9
 8        National Funding Co, #4                                    Last 4 digits of account number                                                      $58,227.00
          Nonpriority Creditor's Name
          9530 Towne Centre Drive                                    When was the debt incurred?
          Suite 120
          San Diego, CA 92121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.9
 9        Nebraska Furniture                                         Last 4 digits of account number       8779                                             $2,897.47
          Nonpriority Creditor's Name
          P. O. Box 2335                                             When was the debt incurred?
          Omaha, NE 68103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 34 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.1
 00       Noble Health Group                                         Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          c/o Jonathan Hensley                                       When was the debt incurred?
          1204 Moreau Dr
          Jefferson City, MO 65101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 01       North Garland Surgery Center                               Last 4 digits of account number                                                           $714.82
          Nonpriority Creditor's Name
          7150 North George Bush                                     When was the debt incurred?
          Suite 101
          Garland, TX 75044
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify


 4.1
 02       NRG Energy                                                 Last 4 digits of account number                                                      $24,259.94
          Nonpriority Creditor's Name
          P.O. Box 660749                                            When was the debt incurred?
          Dallas, TX 75266
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 35 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.1
 03       Nueterra Capital                                           Last 4 digits of account number                                                    $9,600,000.00
          Nonpriority Creditor's Name
          112221 Roe Avenue                                          When was the debt incurred?
          Leawood, KS 66211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1      Ogletree, Deakins, Nash Smoak &
 04       Stewart                                                    Last 4 digits of account number                                                      $32,980.00
          Nonpriority Creditor's Name
          50 International Dive                                      When was the debt incurred?
          Suite 300
          Greenville, SC 29615
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 05       Omega Accounting Solutions                                 Last 4 digits of account number                                                      $13,494.05
          Nonpriority Creditor's Name
          15101 Alton Parkway                                        When was the debt incurred?
          Suite 450
          Irvine, CA 92618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 36 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.1
 06       Oral Surgery of Texas                                      Last 4 digits of account number                                                           $886.58
          Nonpriority Creditor's Name
          9000 Lakeview                                              When was the debt incurred?
          Rowlett, TX 75088
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify


 4.1
 07       Parkview Advance, LLC                                      Last 4 digits of account number                                                     $369,577.00
          Nonpriority Creditor's Name
          400 Main Street                                            When was the debt incurred?
          Stamford, CT 06901
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 08       Pawnee Leasing                                             Last 4 digits of account number                                                      $58,067.00
          Nonpriority Creditor's Name
          3801 Automation Way                                        When was the debt incurred?
          Suite 207
          Fort Collins, CO 80525
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 37 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.1
 09       Paypal                                                     Last 4 digits of account number       4139                                             $5,000.00
          Nonpriority Creditor's Name
          c/o American Coraduis                                      When was the debt incurred?
          International
          2420 Sweet Home Road
          Suite 150



          Buffalo, NY 14228
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify



 4.1      Post Road Real Estate Finance,
 10       LLC                                                        Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          Crestline Makena Fund                                      When was the debt incurred?
          Crestline
          2 landmark Square
          Suite 207
          Stamford, CT 06901
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1      Quest Diagnostic Clinical
 11       Laboratories                                               Last 4 digits of account number                                                     $325,927.45
          Nonpriority Creditor's Name
          c/o Neil Orleans                                           When was the debt incurred?
          700 N Pearl Street
          Suite 1601
          Dallas, TX 75201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 38 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.1
 12       Quest Diagnostics                                          Last 4 digits of account number                                                        $1,310.02
          Nonpriority Creditor's Name
          P.O. Box 740779                                            When was the debt incurred?
          Cincinnati, OH 45274
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify


 4.1
 13       RDC Capital c/o David Brauer                               Last 4 digits of account number                                                     $300,000.00
          Nonpriority Creditor's Name
          3502 Emerald Court Grapevine, TX                           When was the debt incurred?
          76051
          Grapevine, TX 76051
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 14       Reliant Energy                                             Last 4 digits of account number                                                      $11,785.17
          Nonpriority Creditor's Name
          P.O. Box 65047                                             When was the debt incurred?
          Dallas, TX 75265
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 39 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.1
 15       Rijander Singh                                             Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          217-08 36th Ave                                            When was the debt incurred?
          Bayside, NY 11361
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 16       RMWC WA Credit LLC                                         Last 4 digits of account number                                                    $9,154,768.95
          Nonpriority Creditor's Name
          750 Lexington Avenue                                       When was the debt incurred?
          Suite 2302
          New York, NY 10022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 17       Rongqi Lui & Yiziao Hu                                     Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          14 Kilpatrick Lane                                         When was the debt incurred?
          Belle Mead, NJ 08502
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 40 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.1
 18       S Craig Holden                                             Last 4 digits of account number                                                      $12,268.00
          Nonpriority Creditor's Name
          165 Madison Ave                                            When was the debt incurred?
          Suite 2000
          Memphis, TN 38103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 19       Saint Pio of Pietrelcina                                   Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          15758 Highway 224                                          When was the debt incurred?
          Unite 116

          Damascus, OR 97089
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 20       Shaiyaan Reza                                              Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          2519 Primrose                                              When was the debt incurred?
          Rowlett, TX 75089
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 41 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.1
 21       Shanaque Hudson                                            Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          1301 Rene La Salle                                         When was the debt incurred?
          San Antonio, TX 78239
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 22       Sheriff & Morgan                                           Last 4 digits of account number                                                      $87,488.52
          Nonpriority Creditor's Name
          104 N Birmingham                                           When was the debt incurred?
          Wylie, TX 75098
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 23       SLSCO Ltd                                                  Last 4 digits of account number                                                     $190,175.29
          Nonpriority Creditor's Name
          6702 Broadway                                              When was the debt incurred?
          Galveston, TX 77554
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 42 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.1
 24       Spriska                                                    Last 4 digits of account number                                                        $1,492.00
          Nonpriority Creditor's Name
          P.O. Box 959220                                            When was the debt incurred?
          Saint Louis, MO 63195
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 25       SSM Healthcare                                             Last 4 digits of account number                                                    $4,534,517.30
          Nonpriority Creditor's Name
          10101 Woodfield Lane                                       When was the debt incurred?
          Saint Louis, MO 63132
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 26       Taxcore Lending LLC                                        Last 4 digits of account number                                                     $130,194.74
          Nonpriority Creditor's Name
          6953 Alamo Downs Parkway                                   When was the debt incurred?
          San Antonio, TX 78238
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 43 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.1
 27       Texas medical resources                                    Last 4 digits of account number                                                            $78.40
          Nonpriority Creditor's Name
          P.O. Box 8549                                              When was the debt incurred?
          Fort Worth, TX 76124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify


 4.1
 28       Texas Mutual Insurance                                     Last 4 digits of account number                                                        $1,057.91
          Nonpriority Creditor's Name
          c/o Sally Garcia                                           When was the debt incurred?
          1702 Townhurst
          Houston, TX 77043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 29       Texas Oncology                                             Last 4 digits of account number                                                           $933.00
          Nonpriority Creditor's Name
          P.O. Box 40587                                             When was the debt incurred?
          Nashville, TN 37204
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 44 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.1
 30       The Lawyer James                                           Last 4 digits of account number                                                      $11,178.38
          Nonpriority Creditor's Name
          462 Seventh Ave                                            When was the debt incurred?
          Floor 6
          New York, NY 10018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 31       Time Warner / Spectrum                                     Last 4 digits of account number       4572                                           $98,267.21
          Nonpriority Creditor's Name
          PO Box 1377                                                When was the debt incurred?
            61716-2103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 32       Trinity Regional Hospital                                  Last 4 digits of account number                                                        $1,312.08
          Nonpriority Creditor's Name
          9201 Warren Parkway                                        When was the debt incurred?
          Suite 200 PMB#398
          Frisco, TX 75035
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 45 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.1
 33       TX Capital Bank                                            Last 4 digits of account number                                                      $90,000.00
          Nonpriority Creditor's Name
          2350 Lakeside                                              When was the debt incurred?
          Suite 800
          Richardson, TX 75080
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 34       TXU Energy                                                 Last 4 digits of account number       0856                                           $25,358.43
          Nonpriority Creditor's Name
          P.O. Box 650638                                            When was the debt incurred?
          Dallas, TX 75265
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 35       US Bank                                                    Last 4 digits of account number       5920                                             $2,952.23
          Nonpriority Creditor's Name
          P.O. Box 790408                                            When was the debt incurred?
          Saint Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 46 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.1
 36       UT Southwestern                                            Last 4 digits of account number                                                        $1,987.16
          Nonpriority Creditor's Name
          P.O. Box 848009                                            When was the debt incurred?
          Dallas, TX 75284
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify


 4.1
 37       Venture Underwriters                                       Last 4 digits of account number                                                      $67,408.00
          Nonpriority Creditor's Name
          c/o Kazlow Fields                                          When was the debt incurred?
          8100 Sandpiper Circle
          Nottingham, MD 21236
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 38       Verizon Credit Card                                        Last 4 digits of account number       1800                                                $165.22
          Nonpriority Creditor's Name
          P.O. Box 669808                                            When was the debt incurred?
          Dallas, TX 75266
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 47 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.1
 39       Verizon Wireless                                           Last 4 digits of account number       9801                                           $10,661.50
          Nonpriority Creditor's Name
          P.O. Box 660108                                            When was the debt incurred?
          Dallas, TX 75266
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 40       Vimal Shukla                                               Last 4 digits of account number                                                      $75,000.00
          Nonpriority Creditor's Name
          Sincere Healthcare                                         When was the debt incurred?
          801 S Highway 78
          Suite 202
          Wylie, TX 75098
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 41       Wazu Capital Partners                                      Last 4 digits of account number                                                     $975,000.00
          Nonpriority Creditor's Name
          c1351 Emily Road                                           When was the debt incurred?
          Suite 140

          Dallas, TX 75240
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 48 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.1
 42       WAZU Capital PArtners Inc                                  Last 4 digits of account number                                                     $832,000.00
          Nonpriority Creditor's Name
          13151 Emily Road                                           When was the debt incurred?
          Suite 140
          Dallas, TX 75240
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 43       Wensi Gao & Tong An                                        Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          18700 10 mile Road                                         When was the debt incurred?
          Suite 2800
          Southfield, MI 48075
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify


 4.1
 44       Westwood Funding 1                                         Last 4 digits of account number                                                     $629,576.00
          Nonpriority Creditor's Name
          4601Sheridan St                                            When was the debt incurred?
          Suite 205

          Hollywood, FL 33021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 49 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.1
 45       Wyler ER                                                   Last 4 digits of account number                                                        $1,075.00
          Nonpriority Creditor's Name
          P.O. Box 371863                                            When was the debt incurred?
          Pittsburgh, PA 15250
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify


 4.1
 46       Ying Liu                                                   Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          18700 10 mile road                                         When was the debt incurred?
          Suite 2800
          Southfield, MI 48075
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 47       Ying Zhang                                                 Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          18700 10 Mile Road                                         When was the debt incurred?
          Suite 2800
          Southfield, MI 48075
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 50 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 4.1
 48        Yu Cao                                                    Last 4 digits of account number                                                                 $5,000.00
           Nonpriority Creditor's Name
           18700 10 mile road                                        When was the debt incurred?
           Suite 2800
              48975
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
               Debtor 1 only                                            Contingent
               Debtor 2 only                                            Unliquidated
               Debtor 1 and Debtor 2 only                               Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
               No                                                       Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt


 4.1
 49        Zhen Zhong                                                Last 4 digits of account number                                                                 $5,000.00
           Nonpriority Creditor's Name
           18700 10 mile Road                                        When was the debt incurred?
           Suite 2800
           Southfield, MI 48075
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
               Debtor 1 only                                            Contingent
               Debtor 2 only                                            Unliquidated
               Debtor 1 and Debtor 2 only                               Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
               No                                                       Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Debt

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Access Recievables Management                                 Line 4.131 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 1377
 Cockeysville, MD 21030
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Allen Carter Susan Cliffel Porter                             Line 4.23 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Wright
 Morris and Arthur, LLP
 250 E Fifth St.
 Suite 2200
 Cincinnati, OH 45202
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ariel Bouskila                                                Line 4.52 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 1545 US 202
 Suite 101
 Pomona, NY 10970
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Brain Alexander                                               Line 4.74 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 2535 Kettner
Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 51 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                               Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                     Case number (if known)

 Suite 3A2
 San Diego, CA 92101
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Brandon Moonier                                               Line 4.90 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 301 Main Street
 P.O. Box 800
 Hillsboro, MO 63050
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Brian Holland and Benjamin Struby                             Line 4.27 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 and
 Lathrop GMP and Foulston Siefkin
 2345 Grand Blvd., Ste 2800
 Kansas City, MO 64108
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bruce Mansflied                                               Line 4.42 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 1550 N Norwood Drive
 Suite 107
 Hurst, TX 76054
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Carl W. Thompson                                              Line 4.4 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 The Law Office of Carl Thompson,
 PC
 10900 Brittmoore Park Drive, Suite L
 Houston, TX 77041
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Charles Sarafino                                              Line 4.133 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 1717 Main Street
 25th Floor
 Dallas, TX 75201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Christopher Brown                                             Line 4.69 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 777 Main St, Ste 2790
 Fort Worth, TX 76105-5369
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chuck McNally                                                 Line 4.144 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 ! 61-43 186th Street
 Suite 450
 Fresh Meadows, NY 11365
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Constable Gary Edward                                         Line 4.111 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 1025 S State Highway 78
 Lavon, TX 75166
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Craig Novack                                                  Line 4.98 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 24165 IH -10 West
 Suite 217-418
 San Antonio, TX 78257
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Craig Novack Law Firm PLLC                                    Line 4.65 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 52 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                               Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                    Case number (if known)

 24165 IH-10 West                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 SUite 217-418
 San Antonio, TX 78257
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 David Roth                                                    Line 4.98 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 2217 HArwood
 Bedford, TX 76021
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Dustin Baker                                                  Line 4.59 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 200 N Mesquite Street
 Suite 200
 Arlington, TX 76011
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Eileen Richling                                               Line 4.49 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 2300 Main Street
 Suite 11093
 Kansas City, MO 64108
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Erica Gilerman                                                Line 4.107 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 515 Madison Ave
 Suite 8108

 New York, NY 10022
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 FCI Lender Services                                           Line 4.47 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 27370
 Anaheim, CA 92809
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 FCI Lender Services                                           Line 4.48 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 27370
 Anaheim, CA 92809
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Foulston Attorney at Law                                      Line 4.134 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 7500 College Blvd.
 Suite 1400
 Overland Park, KS 66210
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Gulf Coast Bank & Trust                                       Line 4.11 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 1170 Clebration Blvd,
 Suite 100
 Howey in the Hills, FL 34737
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Haliegh Jones                                                 Line 4.1 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 1700 Pacific Ave
 Suite 2390
 Dallas, TX 75201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Harry Simon                                                   Line 4.108 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 10200 East Giradf Ave
Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 53 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                               Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                    Case number (if known)

 Suite 120 Building B
 Denver, CO 80231
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Isaac Greenfield                                              Line 4.45 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 2 Executive Blvd
 Suite 305
 Suffern, NY 10901
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ismail Amin                                                   Line 4.62 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 100 Crescent Court
 Seventh Floor
 Dallas, TX 75201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Jeff Leaverton                                                Line 4.18 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 420 Throckmorton Street
 Suite 1210
 Fort Worth, TX 76102
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Jeffrey Hiller                                                Line 4.47 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 333 Covent
 San Antonio, TX 78205
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Joseph Mira                                                   Line 4.89 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 8235 Douglas Ave
 Suite 895
 Dallas, TX 75225
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Katherine Hopkins                                             Line 4.17 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 201 Main Street
 Suite 2500
 Denton, TX 76201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Kevin Hormuth                                                 Line 4.125 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 10 S Broadway
 Suite 2000
 Saint Louis, MO 63102
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Kyle Cocker                                                   Line 4.142 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 17304 Preston Road
 Suite 300
 Dallas, TX 75252
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Laura Dibiase                                                 Line 4.116 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 201 17th Strett NW
 Suite 1700
 Atlanta, GA 30363
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Lee Wier                                                      Line 4.3 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 707 Grant Street
Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 54 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                               Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                    Case number (if known)

 Suite 3800
 Pittsburgh, PA 15219
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 National Funing Co #5                                         Line 4.98 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 9530 Towne Center Drive
 Suite 120
 San Diego, CA 92121
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Nerissa Moisan                                                Line 4.125 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 150 N Michigan Ave
 Suite 3050
 Chicago, IL 60601
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Patrick Ferry                                                 Line 4.44 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 400 Rella Blvd
 Suite 165-101
 Suffern, NY 10901
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Randall Lindley                                               Line 4.104 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 2323 Ross
 Suite 1900
 Dallas, TX 75201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Richard DeBerry                                               Line 4.27 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 777 Main Street
 Suite 2700
 Fort Worth, TX 76102
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Richard DeBerry                                               Line 4.103 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 777 Main Street
 Suite 2700
 Fort Worth, TX 76102
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Richard Muller                                                Line 4.144 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 61-43 186th Street
 Suite 450
 Fresh Meadows, NY 11365
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Robert Browning                                               Line 4.102 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 1900 Post Oak Blvd.
 Suite 1800
 Houston, TX 77056
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Roderick Reuter                                               Line 4.114 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 571811
 Houston, TX 77257
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ross Wells Ross Wells Abernathy                               Line 4.80 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Roeder
Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 55 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                               Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                    Case number (if known)

 Boyd & Hullett PC
 1700 Redbud Blvd., Suite 300
 PO Box 1210
 McKinney, TX 75069
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ross, Smith & Binford, PD                                     Line 4.112 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Neil Orleans
 700 N. Pearl St, Suite 1610
 Dallas, TX 75201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sean Johnson                                                  Line 4.123 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 17017
 Galveston, TX 77552
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sherly Thomas                                                 Line 4.66 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 6363 Woodway Dr.
 Suite 975
 Houston, TX 77057
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Stephen Le Brocq                                              Line 4.5 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Le Brocq & Horner, PPLC
 2828 E Trinity Mills Rd., Ste. 221
 Carrollton, TX 75006
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Steven Wells                                                  Line 4.107 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 229 Warner Road
 Lancaster, NY 14086
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sunrise Credit Services                                       Line 4.29 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 80 Corporate Center Drive
 Suite 300
 Melville, NY 11747
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 The Marsala Law Group                                         Line 4.41 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 1417 E McKinney
 Suite 110
 Dallas, TX 75209
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Thomas Voigt                                                  Line 4.48 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 740
 Decatur, IL 62525
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Todd Burns                                                    Line 4.123 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 TC Energy Center
 700 Louisiana, Suite 3950
 Houston, TX 77005
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Todd C Wert Lear Wert LLP                                     Line 4.71 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 103 Ripley St.
Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 56 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                               Best Case Bankruptcy
 Debtor 1 Ryan Cole
 Debtor 2 Sarah Cole                                                                                    Case number (if known)

 Columbia, MO 65201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Transworld Systems                                            Line 4.106 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 500 Virginia Drive
 Suite 514
 Fort Washington, PA 19034
                                                               Last 4 digits of account number                   8181

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Vadim Serebro                                                 Line 4.44 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 55 Broadway
 3rd Floor
 New York, NY 10006
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Westwood Funding 2                                            Line 4.144 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 4601 Sheridan Street
 Suite 205
 Hollywood, FL 33021
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Yeshaya Gorkin                                                Line 4.58 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 605
 New York, NY 10038
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Zachary Fanucchi                                              Line 4.65 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 700 N St Mary Street
 San Antonio, TX 78205
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6.    Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                 6a.       $                           0.00
 Total claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                         6b.       $                  485,525.26
                        6c.   Claims for death or personal injury while you were intoxicated               6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.      6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                     6e.       $                  485,525.26

                                                                                                                               Total Claim
                        6f.   Student loans                                                                6f.       $                           0.00
 Total claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                        6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts            6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount         6i.
                              here.                                                                                  $              97,573,260.69

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                  6j.       $              97,573,260.69




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 57 of 57
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                               Best Case Bankruptcy
 Fill in this information to identify your case:

 Debtor 1                Ryan Cole
                         First Name                         Middle Name              Last Name

 Debtor 2                Sarah Cole
 (Spouse if, filing)     First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF TEXAS

 Case number
 (if known)                                                                                                                         Check if this is an
                                                                                                                                    amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                    State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number      Street

           City                                    State                  ZIP Code
  2.2
           Name


           Number      Street

           City                                    State                  ZIP Code
  2.3
           Name


           Number      Street

           City                                    State                  ZIP Code
  2.4
           Name


           Number      Street

           City                                    State                  ZIP Code
  2.5
           Name


           Number      Street

           City                                    State                  ZIP Code




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                               Page 1 of 1
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
 Fill in this information to identify your case:

 Debtor 1                     Ryan Cole
                              First Name                            Middle Name        Last Name

 Debtor 2                     Sarah Cole
 (Spouse if, filing)          First Name                            Middle Name        Last Name


 United States Bankruptcy Court for the:                   NORTHERN DISTRICT OF TEXAS

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                       No
                       Yes.


                         In which community state or territory did you live?           -NONE-          . Fill in the name and current address of that person.


                         Name of your spouse, former spouse, or legal equivalent
                         Number, Street, City, State & Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                   Schedule D, line
                Name                                                                                      Schedule E/F, line
                                                                                                          Schedule G, line

                Number               Street
                City                                        State                       ZIP Code




    3.2                                                                                                   Schedule D, line
                Name                                                                                      Schedule E/F, line
                                                                                                          Schedule G, line

                Number               Street
                City                                        State                       ZIP Code




Official Form 106H                                                                 Schedule H: Your Codebtors                                      Page 1 of 1
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
Fill in this information to identify your case:

Debtor 1                      Ryan Cole

Debtor 2                      Sarah Cole
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF TEXAS

Case number                                                                                              Check if this is:
(If known)                                                                                                  An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                 Debtor 1                                   Debtor 2 or non-filing spouse
       If you have more than one job,        Employment status         Employed                                   Employed
       attach a separate page with
       information about additional                                    Not employed                               Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or                              Property Development                       Homemaker
       self-employed work.
                                             Employer's name
       Occupation may include student
       or homemaker, if it applies.          Employer's address



                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1        For Debtor 2 or
                                                                                                                           non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.           2.    $             0.00      $              0.00

3.     Estimate and list monthly overtime pay.                                               3.   +$             0.00      +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                          4.    $           0.00            $       0.00




Official Form 106I                                                      Schedule I: Your Income                                                   page 1
Debtor 1    Ryan Cole
Debtor 2    Sarah Cole                                                                                                               Case number (if known)



                                                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                                                               non-filing spouse
     Copy line 4 here ...................................................................................................     4.         $              0.00   $             0.00

5.   List all payroll deductions:
     5a.      Tax, Medicare, and Social Security deductions                                                                   5a.        $              0.00   $               0.00
     5b.      Mandatory contributions for retirement plans                                                                    5b.        $              0.00   $               0.00
     5c.      Voluntary contributions for retirement plans                                                                    5c.        $              0.00   $               0.00
     5d.      Required repayments of retirement fund loans                                                                    5d.        $              0.00   $               0.00
     5e.      Insurance                                                                                                       5e.        $              0.00   $               0.00
     5f.      Domestic support obligations                                                                                    5f.        $              0.00   $               0.00
     5g.      Union dues                                                                                                      5g.        $              0.00   $               0.00
     5h.      Other deductions. Specify:                                                                                      5h.+       $              0.00 + $               0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                                                           6.     $                  0.00   $               0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                      7.     $                  0.00   $               0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                               8a.        $              0.00   $               0.00
     8b.      Interest and dividends                                                                                          8b.        $              0.00   $               0.00
     8c.      Family support payments that you, a non-filing spouse, or a dependent
              regularly receive
              Include alimony, spousal support, child support, maintenance, divorce
              settlement, and property settlement.                                                                            8c.        $              0.00   $               0.00
     8d.      Unemployment compensation                                                                                       8d.        $              0.00   $               0.00
     8e.      Social Security                                                                                                 8e.        $              0.00   $               0.00
     8f.      Other government assistance that you regularly receive
              Include cash assistance and the value (if known) of any non-cash assistance
              that you receive, such as food stamps (benefits under the Supplemental
              Nutrition Assistance Program) or housing subsidies.
              Specify:                                                                                                        8f.  $                    0.00   $               0.00
     8g.      Pension or retirement income                                                                                    8g. $                     0.00   $               0.00
     8h.      Other monthly income. Specify:                                                                                  8h.+ $                    0.00 + $               0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                                                                 9.     $                  0.00   $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                                                          10. $               0.00 + $            0.00 = $               0.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:    Payments from son for 2020 pickup + payment from contract bu                                                  11. +$                                                   1,600.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                                                          12.   $           1,600.00
                                                                                                                                                                           Combined
                                                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Ryan actively seeking regular employment or clients for independent project management consulting.
                                       Sarah seeking regular employment




Official Form 106I                                                                                 Schedule I: Your Income                                                              page 2
Fill in this information to identify your case:

Debtor 1                 Ryan Cole                                                                          Check if this is:
                                                                                                                An amended filing
Debtor 2                 Sarah Cole                                                                             A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                             expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS                                                 MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?
      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than                Yes
      yourself and your dependents?

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            2,244.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           250.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                  6a.    $                          1,500.00
      6b. Water, sewer, garbage collection                                                                6b.    $                            115.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                  6c.    $                            550.00
      6d. Other. Specify: Secuity                                                                         6d.    $                             50.00
Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
Debtor 1     Ryan Cole
Debtor 2     Sarah Cole                                                                                Case number (if known)

7.    Food and housekeeping supplies                                                           7. $                                             1,000.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               200.00
10.   Personal care products and services                                                    10. $                                                 75.00
11.   Medical and dental expenses                                                            11. $                                                400.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                420.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 49.73
14.   Charitable contributions and religious donations                                       14. $                                                 50.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                 800.00
      15b. Health insurance                                                                15b. $                                                 186.00
      15c. Vehicle insurance                                                               15c. $                                               1,028.00
      15d. Other insurance. Specify:                                                       15d. $                                                   0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                 939.13
      17b. Car payments for Vehicle 2                                                      17b. $                                                 699.64
      17c. Other. Specify: vehicle 3                                                       17c. $                                               1,002.59
      17d. Other. Specify: vehicle 4                                                       17d. $                                                 898.73
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                   0.00
      20b. Real estate taxes                                                               20b. $                                                   0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                   0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                   0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                   0.00
21.   Other: Specify:    rv payment                                                          21. +$                                               677.68
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      13,135.50
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      13,135.50
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              1,600.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                            13,135.50

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                          23c. $                             -11,535.50

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                 Schedule J: Your Expenses                                                                      page 2
 Fill in this information to identify your case:

 Debtor 1                    Ryan Cole
                             First Name                     Middle Name             Last Name

 Debtor 2                    Sarah Cole
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF TEXAS

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No
                Yes.      Name of person                                                                        Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Ryan Cole                                                             X   /s/ Sarah Cole
              Ryan Cole                                                                 Sarah Cole
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date        March 23, 2024                                                Date    March 23, 2024




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
 Fill in this information to identify your case:

 Debtor 1                  Ryan Cole
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Sarah Cole
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF TEXAS

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                               Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there
                                                                From-To:                       Same as Debtor 1                                     Same as Debtor 1
                                                                                            4209 Bunker Hill                                     From-To:
                                                                                            Garland, TX 75048                                    11/15/2022 to
                                                                                                                                                 6/01/2023


3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                              $0.00          Wages, commissions,                       $0.00
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1

Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
 Debtor 1      Ryan Cole
 Debtor 2      Sarah Cole                                                                                  Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                              Wages, commissions,                         $6,000.00           Wages, commissions,                $5,000.00
 (January 1 to December 31, 2023 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business

                                                      Wages, commissions,                       $34,074.80            Wages, commissions,                      $0.00
                                                   bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business

 For the calendar year before that:                   Wages, commissions,                      $222,159.00            Wages, commissions,                      $0.00
 (January 1 to December 31, 2022 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 For last calendar year:                           settlement                                     $4,446.00
 (January 1 to December 31, 2023 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.
            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2

Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
 Debtor 1      Ryan Cole
 Debtor 2      Sarah Cole                                                                                  Case number (if known)


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
      including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
      support and alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       Deed v Debtor                                            civil action                431 Judicial District Court                 Pending
       23-6196-431                                                                          1450 McKinney                               On appeal
                                                                                            Denton, TX 76209                            Concluded


       Laget v. Debtor                                          civil action                342 District Court                          Pending
       342-338190-22                                                                        100 Calhoun                                 On appeal
                                                                                            Denton, TX 76201                            Concluded


       Greywolf v Debtor                                        Civil                       Northern District Court                     Pending
       4:22-cv-00844                                                                                                                    On appeal
                                                                                                                                        Concluded


       Harkleroad v. Debtor                                     Civil                       471 District Court                          Pending
       471-00728-2023                                                                       2100 Bloomdale                              On appeal
                                                                                            McKinney, TX 75070                          Concluded


       Wazu v. Debtor                                           civl                        Dalals District Court                       Pending
       DC-23-2003                                                                           600 Commerce Street                         On appeal
                                                                                            Dallas, TX 75201                            Concluded


       Wazu V Debtor                                            Civil                       Dallas County                               Pending
       dc-23-05450                                                                          600 Commerce Street                         On appeal
                                                                                            Dallas, TX 75201                            Concluded


       Cloudfund v Debtor                                       Civil                       Superior Court New York                     Pending
       724119/2022                                                                                                                      On appeal
                                                                                                                                        Concluded


       Diverse Capital v Debtor                                 Civil                       Superior COurt New York                     Pending
       536230/2022                                                                                                                      On appeal
                                                                                                                                        Concluded



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 3

Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
 Debtor 1      Ryan Cole
 Debtor 2      Sarah Cole                                                                                  Case number (if known)


       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       DML v Debtor                                             Civil                       Dallas County                               Pending
       dc-23-16651                                                                          600 Commerce Street                         On appeal
                                                                                            Dallas, TX 75201                            Concluded


       DML/rockford                                             Civil                       Winnebago County                            Pending
       2023 fc-159                                                                                                                      On appeal
                                                                                                                                        Concluded


       EBF Holdings v Debtor                                    Civil                       Washington County New                       Pending
       EC2023-35563                                                                         York                                        On appeal
                                                                                                                                        Concluded


       Flash Funding v Debtor                                   Civil                       Superior Couty Kings Co.,                   Pending
       53213-2022                                                                           New York                                    On appeal
                                                                                                                                        Concluded


       National Funding v Debtor                                Civil                       tarrant county                              Pending
       2023-2106                                                                                                                        On appeal
                                                                                                                                        Concluded


       Parkview v Debtor                                        Civil                       superior county Kings Co                    Pending
       504474/2023                                                                          New York                                    On appeal
                                                                                                                                        Concluded


       westwood v Debtor                                        Civil                       Superior Court Kings Co,                    Pending
       540150-2023                                                                          New York                                    On appeal
                                                                                                                                        Concluded


       g-crete v debtor                                         Civil                       collin county                               Pending
       439-02252-2023                                                                       2100 Bloomdale                              On appeal
                                                                                            McKinney, TX 75069                          Concluded


       Holt v Debtor                                            Civil                       bexar county texas                          Pending
       2022-ct-23289                                                                                                                    On appeal
                                                                                                                                        Concluded


       BLC v Debtor                                             Civil                       Collin COunty                               Pending
       429-00589-2023                                                                       2100 Bloomdale                              On appeal
                                                                                            McKinney, TX 75070                          Concluded


       MAAP v Debtor                                            Civil                       arbitration                                 Pending
       01-22-0000-6859-2                                                                                                                On appeal
                                                                                                                                        Concluded


       pawnee leasing v debtor                                  Civil                       larimer county                              Pending
       2023cv30273                                                                                                                      On appeal
                                                                                                                                        Concluded




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4

Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
 Debtor 1      Ryan Cole
 Debtor 2      Sarah Cole                                                                                  Case number (if known)


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                   Value of the
                                                                                                                                                        property
                                                                Explain what happened
       Sheffield Financial                                                                                                    3/1/2024                 $9,000.00
       PO Box 580229
       Charlotte, NC 28258                                           Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
        No
        Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was             Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?
            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        No
        Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
        Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

            No
            Yes.    Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                           lost
                                                            insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 5

Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
 Debtor 1      Ryan Cole
 Debtor 2      Sarah Cole                                                                                  Case number (if known)


 Part 7:       List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
        No
        Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                               have it?
                                                                     State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6

Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor 1      Ryan Cole
 Debtor 2      Sarah Cole                                                                                       Case number (if known)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents          Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                    have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

       Cubesmart                                                     Children's keepsakes.                                                        No
       7970 Woodbridge Parkway                                       personal files over 5                                                        Yes
       Sachse, TX 75048                                              years old

       Public Storage                                                                                           LLC files                         No
       2901 Miles Road                                                                                                                            Yes

       Sachse, TX 75048


 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes.    Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                      Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case             Status of the
       Case Number                                                   Name                                                                      case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 7

Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
 Debtor 1      Ryan Cole
 Debtor 2      Sarah Cole                                                                                  Case number (if known)


 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation
            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business              Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       The District Lifestyle Wylie LLC                                                                          EIN:         XX-XXXXXXX
                                                                                                                 From-To


       District Lifestyle Wylie LLC                                                                              EIN:         XX-XXXXXXX
                                                                                                                 From-To


       Platinum Real Estate Funding, LLC                        Project management                               EIN:         85-060849
       801 TX-78
       Wylie, TX 75098                                          Daydra Management, LLC                           From-To


       Paramount Real Estate Holdings                                                                            EIN:         XX-XXXXXXX
       VI, LLC
                                                                                                                 From-To


       Top Chef Catering                                        Food Industry                                    EIN:         XX-XXXXXXX
                                                                                                                 From-To


       Serenenity Herbal Apothercary                            Herbal Wellness                                  EIN:         XX-XXXXXXX
       LLC
                                                                                                                 From-To


       Platinum Team Management                                 Project management                               EIN:
       801 TX-78
       Wylie, TX 75098                                          85-060849                                        From-To


       Daydra Management, LLC                                   Construction Management                          EIN:         46-379138
                                                                                                                 From-To


       Serene District Townhomes                                Single Asset LLC - raw land for                  EIN:         37-187728
                                                                development
                                                                                                                 From-To



28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                     Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 8

Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor 1      Ryan Cole
 Debtor 2      Sarah Cole                                                                                  Case number (if known)


 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Ryan Cole                                                           /s/ Sarah Cole
 Ryan Cole                                                               Sarah Cole
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date       March 23, 2024                                               Date       March 23, 2024

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person        . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                     page 9

Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
 Fill in this information to identify your case:

 Debtor 1                  Ryan Cole
                           First Name                       Middle Name              Last Name

 Debtor 2                  Sarah Cole
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF TEXAS

 Case number
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
    you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
           whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
           on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that   Did you claim the property
                                                               secures a debt?                                   as exempt on Schedule C?



    Creditor's         Credit Union of Texas                                Surrender the property.                     No
    name:                                                                    Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        2016 Corvette Chevy                               Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's         Mercedes benz Financial Services                     Surrender the property.                     No
    name:                                                                    Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        2021 Mercedes Benz GLC 300                        Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's         Sheffield                                            Surrender the property.                     No
    name:                                                                    Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        2020 StcII Lawnmover                              Reaffirmation Agreement.
    property              riding lawnmower                                  Retain the property and [explain]:
    securing debt:



    Creditor's         TD Auto Finance                                      Surrender the property.                     No

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
 Debtor 1      Ryan Cole
 Debtor 2      Sarah Cole                                                                             Case number (if known)

    name:                                                                    Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      2018 Cadillac ESCALADE                              Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's     TD Auto Finance                                          Surrender the property.                                     No
    name:                                                                    Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      2020 GMC Sierra Pickup                              Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's     TTCU                                                     Surrender the property.                                     No
    name:                                                                    Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      2006 Gulfstream RV                                  Reaffirmation Agreement.
    property            This was purchased on contract                      Retain the property and [explain]:
    securing debt:      by a 3rd party in August 2023.
                        We maintain loan and monthly
                        payments are made to us for
                        loan amount

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
 Debtor 1      Ryan Cole
 Debtor 2      Sarah Cole                                                                            Case number (if known)

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Ryan Cole                                                                X /s/ Sarah Cole
       Ryan Cole                                                                       Sarah Cole
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date          March 23, 2024                                                 Date     March 23, 2024




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                     page 3

Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
 Fill in this information to identify your case:                                                     Check one box only as directed in this form and in Form
                                                                                                     122A-1Supp:
 Debtor 1              Ryan Cole

 Debtor 2              Sarah Cole                                                                            1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                             2. The calculation to determine if a presumption of abuse
                                                                                                                applies will be made under Chapter 7 Means Test
 United States Bankruptcy Court for the:            Northern District of Texas
                                                                                                                Calculation (Official Form 122A-2).
 Case number                                                                                                 3. The Means Test does not apply now because of
 (if known)                                                                                                     qualified military service but it could apply later.
                                                                                                             Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                     12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach
a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income
  1. What is your marital and filing status? Check one only.
       Not married. Fill out Column A, lines 2-11.
       Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
       Married and your spouse is NOT filing with you. You and your spouse are:
         Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
         Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
          penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
          apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. § 101(10A).
    For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the 6 months,
    add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same
    rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A                  Column B
                                                                                                         Debtor 1                  Debtor 2 or
                                                                                                                                   non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                          $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                          $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                          $
  5. Net income from operating a business, profession, or farm
                                                                                  Debtor 1
        Gross receipts (before all deductions)                           $
        Ordinary and necessary operating expenses                       -$
        Net monthly income from a business, profession, or farm $                       Copy here -> $                             $
  6. Net income from rental and other real property
                                                                                  Debtor 1
        Gross receipts (before all deductions)                           $
        Ordinary and necessary operating expenses                       -$
        Net monthly income from rental or other real property           $               Copy here -> $                             $
  7. Interest, dividends, and royalties                                                                  $                         $




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                       page 1
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
 Debtor 1
               Ryan Cole
 Debtor 2      Sarah Cole                                                                                         Case number (if known)



                                                                                                              Column A                     Column B
                                                                                                              Debtor 1                     Debtor 2 or
                                                                                                                                           non-filing spouse
  8. Unemployment compensation                                                           $                                                 $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
            For you ....................................................................$
         For your spouse.......................................................$
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability,
      or death of a member of the uniformed services. If you received any retired pay paid
      under chapter 61 of title 10, then include that pay only to the extent that it does not
      exceed the amount of retired pay to which you would otherwise be entitled if retired
      under any provision of title 10 other than chapter 61 of that title.                    $                                            $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments received
      as a victim of a war crime, a crime against humanity, or international or domestic
      terrorism; or compensation pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability,
      or death of a member of the uniformed services. If necessary, list other sources on a
      separate page and put the total below..
              .                                                                               $                                            $
                                                                                                              $                            $
                     Total amounts from separate pages, if any.                                           +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                         $                        +$                     =$

                                                                                                                                                           Total current monthly
                                                                                                                                                           income

 Part 2:          Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11.........................................................Copy line 11 here=>            $


               Multiply by 12 (the number of months in a year)                                                                                              x 12
       12b. The result is your annual income for this part of the form                                                                           12b. $

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.

       Fill in the number of people in your household.
       Fill in the median family income for your state and size of household. ........................................................... 13.          $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions for
       this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.                Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                           Go to Part 3. Do NOT fill out or file Official Form 122A-2.
       14b.                Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                           Go to Part 3 and fill out Form 122A–2.
 Part 3:          Sign Below
               By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

              X /s/ Ryan Cole                                                                   X /s/ Sarah Cole
                   Ryan Cole                                                                        Sarah Cole
                   Signature of Debtor 1                                                            Signature of Debtor 2
        Date        March 23, 2024                                                           Date   March 23, 2024
Official Form 122A-1                                                 Chapter 7 Statement of Your Current Monthly Income                                                  page 2
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                               Best Case Bankruptcy
 Debtor 1
             Ryan Cole
 Debtor 2    Sarah Cole                                                                           Case number (if known)

                MM / DD / YYYY                                                           MM / DD / YYYY
             If you checked line 14a, do NOT fill out or file Form 122A-2.
             If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                       page 3
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
 Fill in this information to identify your case:

 Debtor 1            Ryan Cole

 Debtor 2           Sarah Cole
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Northern District of Texas

 Case number                                                                                    Check if this is an amended filing
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                  12/15
File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:       Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).
           No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
                supplement with the signed Form 122A-1.
           Yes. Go to Part 2.


 Part 2:       Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
        No. Go to line 3.
        Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
             10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
            No.    Go to line 3.
            Yes. Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
                   this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
        No.   Complete Form 122A-1. Do not submit this supplement.
        Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
            No.    Complete Form 122A-1. Do not submit this supplement.
            Yes. Check any one of the following categories that applies:
                                                                                          If you checked one of the categories to the left, go to Form
                   I was called to active duty after September 11, 2001, for at least 90 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                   days and remain on active duty.                                        The Means Test does not apply now, and sign Part 3. Then
                   I was called to active duty after September 11, 2001, for at least 90 submit this supplement with the signed Form 122A-1. You
                   days and was released from active duty on                      , which are not required to fill out the rest of Official Form 122A-1
                   is fewer than 540 days before I file this bankruptcy case.             during the exclusion period. The exclusion period means the
                                                                                          time you are on active duty or are performing a homeland
                   I am performing a homeland defense activity for at least 90 days. defense activity, and for 540 days afterward. 11 U.S.C. §
                                                                                          707(b)(2)(D)(ii).
                   I performed a homeland defense activity for at least 90 days,
                   ending on                      , which is fewer than 540 days before I
                                                                                          If your exclusion period ends before your case is closed, you
                   file this bankruptcy case.
                                                                                          may have to file an amended form later.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                               page 1
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:            Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $78      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $338      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1

Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167       filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $571      administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738       total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                             page 2

Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200          filing fee                                               years or 5 years, depending on your income and other
 +                  $78          administrative fee                                       factors.
                   $278          total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235          filing fee                                                      debts for fraud or defalcation while acting in a
 +                  $78          administrative fee                                              fiduciary capacity,
                   $313          total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3

Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/forms/bankruptcy-forms                                           agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
 Bankruptcy crimes have serious consequences                                              days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
        If you knowingly and fraudulently conceal assets                                  Internet.
        or make a false oath or statement under penalty of
        perjury—either orally or in writing—in connection                                 In addition, after filing a bankruptcy case, you generally
        with a bankruptcy case, you may be fined,                                         must complete a financial management instructional
        imprisoned, or both.                                                              course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
        All information you supply in connection with a                                   course.
        bankruptcy case is subject to examination by the
        Attorney General acting through the Office of the                                 You can obtain the list of agencies approved to provide
        U.S. Trustee, the Office of the U.S. Attorney, and                                both the briefing and the instructional course from:
        other offices and employees of the U.S.                                           http://www.uscourts.gov/services-forms/bankruptcy/cre
        Department of Justice.                                                            dit-counseling-and-debtor-education-courses.

 Make sure the court has your mailing address                                             In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
 The bankruptcy court sends notices to the mailing                                        dit-counseling-and-debtor-education-courses.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4

Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                                                    Northern District of Texas
             Ryan Cole
 In re       Sarah Cole                                                                                                                            Case No.
                                                                                                           Debtor(s)                               Chapter    7

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept ....................................................................                  $                  0.00
             Prior to the filing of this statement I have received .......................................................                     $                  0.00
             Balance Due ...................................................................................................................   $                  0.00

2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                                             CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     March 23, 2024                                                                                       /s/ Robert T. DeMarco, III
     Date                                                                                                 Robert T. DeMarco, III
                                                                                                          Signature of Attorney
                                                                                                          Eric A. Liepins
                                                                                                          12770 Coit Road, Ste. 850
                                                                                                          Suite 1100
                                                                                                          Dallas, TX 75251
                                                                                                            Fax:
                                                                                                          robert@demarcomitchell.com
                                                                                                          Name of law firm




Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                                       Best Case Bankruptcy
                                                                                                                                BTXN 094 (rev. 5/04)




                                                  UNITED STATES BANKRUPTCY COURT
                                                    NORTHERN DISTRICT OF TEXAS

 In Re:                                                                          §
                                                                                 §
               Ryan Cole                                                         §          Case No.:
               Sarah Cole                                                        §
                                                                                 §
                                                                  Debtor(s)      §
                                                                                 §

                                                      VERIFICATION OF MAILING LIST


            The Debtor(s) certifies that the attached mailing list (only one option may be selected per form):

                                         is the first mail matrix in this case.

                                         adds entities not listed on previously filed mailing list(s).

                                         changes or corrects name(s) and address(es) on previously filed mailing list(s).

                                         deletes name(s) and address(es) on previously filed mailing list(s).



       In accordance with N.D. TX L.B.R. 1007.2, the above named Debtor(s) hereby verifies that the
attached list of creditors is true and correct.


 Date:        March 23, 2024                                              /s/ Ryan Cole
                                                                          Ryan Cole
                                                                          Signature of Debtor

 Date:        March 23, 2024                                              /s/ Sarah Cole
                                                                          Sarah Cole
                                                                          Signature of Debtor

 Date:        March 23, 2024                                              /s/ Robert T. DeMarco, III
                                                                          Signature of Attorney
                                                                          Robert T. DeMarco, III
                                                                          Eric A. Liepins
                                                                          12770 Coit Road, Ste. 850
                                                                          Suite 1100
                                                                          Dallas, TX 75251
                                                                             Fax:

                                                                              xxx-xx-9521
                                                                          Debtor's Social Security/Tax ID No.

                                                                              xxx-xx-3835
                                                                          Joint Debtor's Social Security/Tax ID No.




Software Copyright (c) 1996-2024 Best Case, LLC   - www.bestcase.com                                                  Best Case Bankruptcy
356 Vetures LLC
1841 Tranquility Court
Prosper, TX 75078


4 Change Energy
P.O. Box 660361


84 Lumber Company LP
P.O. Box 365
Eighty Four, PA 15330


Access Recievables Management
P.O. Box 1377
Cockeysville, MD 21030


ACT Pipe and Supply, Inc
c/o Carl Thompson
10900 Brittmoore Park Drive Suite L
Houston, TX 77041


Adam Deeb
c/o Steve LeBrocq
2828 Trinity Mill Road Suite 221
Carrollton, TX 75006


Adam Smock
3416 Endicott
Wylie, TX 75098


Adkan Engineers
6879 Airport Drive
Riverside, CA 92504


Allen Carter Susan Cliffel Porter Wright
Morris and Arthur, LLP
250 E Fifth St. Suite 2200
Cincinnati, OH 45202
Alphaeon
P.O. Box 650965
Dallas, TX 75265


American Arbitration Association
13727 Noel Road Suite 700
Dallas, TX 75240


American Arbitration Association
150 N. Michigan Ave., Ste. 3050
Chicago, IL 60601


Amerifactors Financial Group, LLC
 1170 Celebration Blvd., Suite 100
Celebration, FL 34747
32863-4747


Amerigas
PO Box 660288
Dallas, TX 75266


Aminda Rodriquez Rockshead
130 Creek side Dr
Plano, TX 75094


Ariel Bouskila
1545 US 202 Suite 101
Pomona, NY 10970


Bank of America
P.O. Box 851001
Dallas, TX 75285


Bank OZK
PO Box 196
Ozark, AR 72949
barclay
P.O. Box 60517
City of Industry, CA 91716


Blackbeard Holdco, LLC
c/o Matt Hudson
201 Main Street Suite 1900
Fort Worth, TX 76102


BLC Princeton to BLC Prime Lending Fund
15375 Barranca Parkway Suite B
Irvine, CA 92618


Bo Lei & Phiyen Ren
1571 St REgis
San Jose, CA 95124


Brain Alexander
2535 Kettner Suite 3A2
San Diego, CA 92101


Brain Hurst
4900 Gage Ave Apt 622
Fort Worth, TX 76109


Brandon Moonier
301 Main Street P.O. Box 800
Hillsboro, MO 63050


Brian Holland and Benjamin Struby and
Lathrop GMP and Foulston Siefkin
2345 Grand Blvd., Ste 2800
Kansas City, MO 64108


Bruce Mansflied
1550 N Norwood Drive Suite 107
Hurst, TX 76054
Cameron Purcell
4719 Markham Woods Court Suite 3A2
Kingwood, TX 77345


Capital One
P.O. Box 60519
City of Industry, CA 91716


Cardinal health 110 & 200 LLC
c/o Susan Cliffel
250 E Fifth St Suite 2200
Cincinnati, OH 45202


Care Credit
P.O. Box 71715
Philadelphia, PA 19176


Careflight
P.O. Box 6511
Carol Stream, IL 60197


Carl W. Thompson
The Law Office of Carl Thompson, PC
10900 Brittmoore Park Drive, Suite L
Houston, TX 77041


Carrington Colman Sloman & Blumenthal
901 Main Street Suite 550
Dallas, TX 75202


Central Bank
c/o Brian Holland
2345 Grand Blvd Suite 2800
Kansas City, MO 64108


Changtai Wang
18700 W 10 Mile Road Suite 2800
40875
Charles Sarafino
1717 Main Street 25th Floor
Dallas, TX 75201


Charter Communication
Spectrum Enterprises PO Box 223085
Pittsburgh, PA 15251


Christopher Brown
777 Main Street Suite 2790
Fort Worth, TX 76105


Christopher Brown
777 Main St, Ste 2790
Fort Worth, TX 76105-5369


Chuck McNally
! 61-43 186th Street Suite 450
Fresh Meadows, NY 11365


Cicero France & Alexander, PC
6323 E Riverside
Rockford, IL 61114


Citi Advantage
P.O. Box 78045
Phoenix, AZ 85062


Citi Costco
P.O. Box 900106
Louisville, KY 40290


City Ambulance Service
P.O. Box 691067
Houston, TX 77269
City of Plano Fire Dept
P.O. Box 46067
Houston, TX 77210


Clement Services
2736 Ludelle Street
Fort Worth, TX 76105


Cliff Sullivan
15758 SE Highway 224
Damascus, OR 97089


Cloundfund, llc
187 WOLF ROAD, SUITE 101
ALBANY NY 12205
10091


Constable Gary Edward
1025 S State Highway 78
Lavon, TX 75166


Craig Novack
24165 IH -10 West Suite 217-418
San Antonio, TX 78257


Craig Novack Law Firm PLLC
24165 IH-10 West SUite 217-418
San Antonio, TX 78257


Credit Union of Texas
P.O. Box 7000
Allen, TX 75013


Curtis Law
901 Main Street Suite 6515
Dallas, TX 75202
Dale Phillips
424 Pleasant Run
Plano, TX 75094


Dallas Lite and Barricade
2822 N Beach
Fort Worth, TX 76111


David Lagat
7278 Glen View Drive
North Richland Hills, TX 76180


David Roth
2217 HArwood
Bedford, TX 76021


Dell Upshaw
18271 CR 913
Nevada, TX 75173


Delta Bridge Funding LLC
400 Rella Blvd Suite 165-101
Suffern, NY 10901


Diverse Capital, LLC
244 5th Ave Suite P297
New York, NY 10001


DML Capital
24032 SE 21st St.
Sammamish, WA 98075


DML Capital Mortgage Fund
24032 SE 21st
Sammamish, WA 98075
DML Capital Mortgage Fund, LLC
Lionscove HQ 2018 156th Ave NE
Bellevue, WA 98007


DOL Kansas
1222 Spruce St Room 9 102B
Saint Louis, MO 63103


Dr Ed Acosta
6521 Geneseo Circle
Plano, TX 75023


Dream Realty
2510 Doyle
Sachse, TX 75048


Dustin Baker
200 N Mesquite Street Suite 200
Arlington, TX 76011


EBF Holdings dba EverestFunding
5 West 37th Street Suite 1100
New York, NY 10018


Ebrahim Khiyami & Paiyen Jamel
7611 Ridgebluff
Sachse, TX 75048


EBSA
Department of Labor   401 SW Tokepa
Topeka, KS 66603


EBSA
Department of Labor 401 SW Topeka
Topeka, KS 66603
Eileen Richling
2300 Main Street Suite 11093
Kansas City, MO 64108


Emergency Physicians Group
P.O. Box 3689, Dept 57
Sugar Land, TX 77487


Erica Gilerman
515 Madison Ave Suite 8108
New York, NY 10022


Erin Gash
17070 W 93rd Place
Leawood, KS 66209


FCI Lender Services
P.O. Box 27370
Anaheim, CA 92809


Flash Funding Services, Inc
112 W 34th Street Suite 18063
New York, NY 10120


Foulston Attorney at Law
7500 College Blvd. Suite 1400
Overland Park, KS 66210


G Crete LLC
1224 US 377 Suite 303 PMB 55
Roanoke, TX 76262


G Crete Texas LLC
9900 Spectrum
Austin, TX 78701
Greenwood JV
c/o Kenny Knox 1112 Serenade Lane
Richardson, TX 75081


Grey Wolf
154 Lemon Road
Farmingdale, NJ 07727


Gulf Coast Bank & Trust
1170 Clebration Blvd, Suite 100
Howey in the Hills, FL 34737


Haliegh Jones
1700 Pacific Ave Suite 2390
Dallas, TX 75201


Harold Deiter
1324 iron Dale
Wylie, TX 75098


Harry Simon
10200 East Giradf Ave
Suite 120 Building B
Denver, CO 80231


Heartplace
Attn: 1919 SW
P.O. Box 1400
Belfast, ME 04915


Holt Texas ltd
3302 South W.W. White Road
San Antonio, TX 78220


Hudson Energy
5251 Westheimer Suite 1000
Houston, TX 77056
Huishong Zhang
18799 10 mile Road Suite 2800
Southfield, MI 48075


InCorp
3773 Howard Hughes Suite 500S
Las Vegas, NV 89169


Internal Revenue Service
1100 Commerce Street Mail Code 5027-DAL
Dallas, TX 75252


Internal Revenue Service
1100 Commerce Street Mail Code 5027- DAL
Dallas, TX 75242


Isaac Greenfield
2 Executive Blvd Suite 305
Suffern, NY 10901


Ismail Amin
100 Crescent Court Seventh Floor
Dallas, TX 75201


Itria Venturees LLC
Duane Morris One Penn Place Suite 4520
New York, NY 10119


Jacob Ojo
10 HArper Drive
Allen, TX 75002


Jeanette Quinn
103 Ripley St
Columbia, MO 65201
Jeff Leaverton
420 Throckmorton Street Suite 1210
Fort Worth, TX 76102


Jeffrey Hiller
333 Covent
San Antonio, TX 78205


Jeffrey Slusher
4227 Parkridge
Sachse, TX 75048


JHW Land Investments
7957 Himingway ave
El Cajon, CA 92020


JHW Land Investments
7957 Hemingway Av.
San Diego, CA 92120


Joachim & Hede Wolff Family Trust
7957 Hemingway Ave
San Diego, CA 92120


John Monterio, 4X Ventures &
JMM Enterprises 10003 Harbor Hideaway
Frisco, TX 75036


Jonathan Collins
325 N St Paul Suite 3100
Dallas, TX 75201


Joseph Mira
8235 Douglas Ave Suite 895
Dallas, TX 75225
Jue Ye
18700 10 mile Road Suite 2800
Southfield, MI 48075


Juzhu Jaing
Room 1502 Building 6
Lane 25 Huangljincheng 2011103 China


Katherine Hopkins
201 Main Street Suite 2500
Denton, TX 76201


Kathleen Harkleroad
c/o Ross Wells
1700 Redbud, Suite 300 P.O. Box 1210
McKinney, TX 75069


Kathryn Burns
6368 W 80th Street
Los Angeles, CA 90045


Kevin Hormuth
10 S Broadway Suite 2000
Saint Louis, MO 63102


KRJL LLC
c/o Ross Wells 1700 Redbud Blvd
Suite 300, P.O. Box 1210
McKinney, TX 75069


Kyle Cocker
17304 Preston Road Suite 300
Dallas, TX 75252


Labcorp
P.O. Box 2240
Burlington, NC 27216
Lakeshore RE Capital Ventures
1003 Harbour Hideaway
Frisco, TX 75036


Lakeshore RE Cpital II, LLC
1003 Harbor Hideaway
Frisco, TX 75036


Larry Pedracini
10222 NE Thompson
Portland, OR 97220


Laura Dibiase
201 17th Strett NW Suite 1700
Atlanta, GA 30363


Lee Wier
707 Grant Street Suite 3800
Pittsburgh, PA 15219


Loren Kenlman Roth 401k
13206 NE 47th St
Bellevue, WA 98005


Lou Losanes
501 Life Spring Drive
Rockwall, TX 75087


MAAP
344 #rd St.
Baton Rouge, LA 70801


Mainstreet Health Ventures
Shaneel Latani
34 Peachtree St NW Suite 2800
Atlanta, GA 30303
Mastrogiovanni PLLC
8080 N central Expressway Suite 1300
Dallas, TX 75206


McGinnis Lochridge
1111 W 6th St Building B Suite 400
Austin, TX 78703


Medpost Urgent Care
P.O. Box 843206
Dallas, TX 75284


Mercedes benz Financial Services
P.O. Box 5209
Carol Stream, IL 60197


Methodist Health System
P.O. Box 733536
Dallas, TX 75393


MIller Bates
1245 Brickyard Road Suite 100
Salt Lake City, UT 84106


Milton Barboza
5128 Blackwood
McKinney, TX 75071


Monterey Development, LLC
c/o Edward Saldana
675 Town Square Blvd. Suite 200
Garland, TX 75040


National Funding Co, #4
9530 Towne Centre Drive Suite 120
San Diego, CA 92121
National Funing Co #5
9530 Towne Center Drive Suite 120
San Diego, CA 92121


Nebraska Furniture
P. O. Box 2335
Omaha, NE 68103


Nerissa Moisan
150 N Michigan Ave Suite 3050
Chicago, IL 60601


Noble Health Group
c/o Jonathan Hensley 1204 Moreau Dr
Jefferson City, MO 65101


North Garland Surgery Center
7150 North George Bush Suite 101
Garland, TX 75044


NRG Energy
P.O. Box 660749
Dallas, TX 75266


Nueterra Capital
112221 Roe Avenue
Leawood, KS 66211


Ogletree, Deakins, Nash Smoak & Stewart
50 International Dive Suite 300
Greenville, SC 29615


Omega Accounting Solutions
15101 Alton Parkway Suite 450
Irvine, CA 92618
Oral Surgery of Texas
9000 Lakeview
Rowlett, TX 75088


Parkview Advance, LLC
400 Main Street
Stamford, CT 06901


Patrick Ferry
400 Rella Blvd Suite 165-101
Suffern, NY 10901


Pawnee Leasing
3801 Automation Way Suite 207
Fort Collins, CO 80525


Paypal
c/o American Coraduis International
2420 Sweet Home Road Suite 150
Buffalo, NY 14228


Post Road Real Estate Finance, LLC
Crestline Makena Fund
Crestline 2 landmark Square Suite 207
Stamford, CT 06901


Quest Diagnostic Clinical Laboratories
c/o Neil Orleans
700 N Pearl Street Suite 1601
Dallas, TX 75201


Quest Diagnostics
P.O. Box 740779
Cincinnati, OH 45274


Randall Lindley
2323 Ross Suite 1900
Dallas, TX 75201
RDC Capital c/o David Brauer
3502 Emerald Court Grapevine, TX 76051
Grapevine, TX 76051


Reliant Energy
P.O. Box 65047
Dallas, TX 75265


Richard DeBerry
777 Main Street Suite 2700
Fort Worth, TX 76102


Richard Muller
61-43 186th Street Suite 450
Fresh Meadows, NY 11365


Rijander Singh
217-08 36th Ave
Bayside, NY 11361


RMWC WA Credit LLC
750 Lexington Avenue Suite 2302
New York, NY 10022


Robert Browning
1900 Post Oak Blvd. Suite 1800
Houston, TX 77056


Roderick Reuter
P.O. Box 571811
Houston, TX 77257


Rongqi Lui & Yiziao Hu
14 Kilpatrick Lane
Belle Mead, NJ 08502
Ross Wells Ross Wells Abernathy Roeder
Boyd & Hullett PC
1700 Redbud Blvd., Suite 300 PO Box 1210
McKinney, TX 75069


Ross, Smith & Binford, PD
Neil Orleans 700 N. Pearl St, Suite 1610
Dallas, TX 75201


S Craig Holden
165 Madison Ave Suite 2000
Memphis, TN 38103


Saint Pio of Pietrelcina
15758 Highway 224 Unite 116
Damascus, OR 97089


Sean Johnson
P.O. Box 17017
Galveston, TX 77552


Shaiyaan Reza
2519 Primrose
Rowlett, TX 75089


Shanaque Hudson
1301 Rene La Salle
San Antonio, TX 78239


Sheffield
P.O. Box 580229
Charlotte, NC 28258


Sheriff & Morgan
104 N Birmingham
Wylie, TX 75098
Sherly Thomas
6363 Woodway Dr. Suite 975
Houston, TX 77057


SLSCO Ltd
6702 Broadway
Galveston, TX 77554


Spriska
P.O. Box 959220
Saint Louis, MO 63195


SSM Healthcare
10101 Woodfield Lane
Saint Louis, MO 63132


Stephen Le Brocq
Le Brocq & Horner, PPLC
2828 E Trinity Mills Rd., Ste. 221
Carrollton, TX 75006


Steven Wells
229 Warner Road
Lancaster, NY 14086


Sunrise Credit Services
80 Corporate Center Drive Suite 300
Melville, NY 11747


Taxcore Lending LLC
6953 Alamo Downs Parkway
San Antonio, TX 78238


TD Auto Finance
P.O. Box 580229
Charlotte, NC 28258
TD Auto Finance
P.O. Box 1000195
Columbia, SC 29202


Texas medical resources
P.O. Box 8549
Fort Worth, TX 76124


Texas Mutual Insurance
c/o Sally Garcia 1702 Townhurst
Houston, TX 77043


Texas Oncology
P.O. Box 40587
Nashville, TN 37204


The Lawyer James
462 Seventh Ave Floor 6
New York, NY 10018


The Marsala Law Group
1417 E McKinney Suite 110
Dallas, TX 75209


Thomas Voigt
P.O. Box 740
Decatur, IL 62525


Time Warner / Spectrum
PO Box 1377
61716-2103


Todd Burns
TC Energy Center
700 Louisiana, Suite 3950
Houston, TX 77005
Todd C Wert Lear Wert LLP
103 Ripley St.
Columbia, MO 65201


Transworld Systems
500 Virginia Drive Suite 514
Fort Washington, PA 19034


Trinity Regional Hospital
9201 Warren Parkway Suite 200 PMB#398
Frisco, TX 75035


TTCU
PO Box 477550
Tulsa, OK 74147


TX Capital Bank
2350 Lakeside Suite 800
Richardson, TX 75080


TXU Energy
P.O. Box 650638
Dallas, TX 75265


US Bank
P.O. Box 790408
Saint Louis, MO 63179


UT Southwestern
P.O. Box 848009
Dallas, TX 75284


Vadim Serebro
55 Broadway 3rd Floor
New York, NY 10006
Venture Underwriters
c/o Kazlow Fields 8100 Sandpiper Circle
Nottingham, MD 21236


Verizon Credit Card
P.O. Box 669808
Dallas, TX 75266


Verizon Wireless
P.O. Box 660108
Dallas, TX 75266


Vimal Shukla
Sincere Healthcare
801 S Highway 78 Suite 202
Wylie, TX 75098


Wazu Capital Partners
c1351 Emily Road Suite 140
Dallas, TX 75240


WAZU Capital PArtners Inc
13151 Emily Road Suite 140
Dallas, TX 75240


Wells Fargo
P.O. Box 51162
Los Angeles, CA 90051


Wensi Gao & Tong An
18700 10 mile Road Suite 2800
Southfield, MI 48075


Westwood Funding 1
4601Sheridan St Suite 205
Hollywood, FL 33021
Westwood Funding 2
4601 Sheridan Street Suite 205
Hollywood, FL 33021


Wyler ER
P.O. Box 371863
Pittsburgh, PA 15250


Yeshaya Gorkin
P.O. Box 605
New York, NY 10038


Ying Liu
18700 10 mile road Suite 2800
Southfield, MI 48075


Ying Zhang
18700 10 Mile Road Suite 2800
Southfield, MI 48075


Yu Cao
18700 10 mile road Suite 2800
48975


Zachary Fanucchi
700 N St Mary Street
San Antonio, TX 78205


Zhen Zhong
18700 10 mile Road Suite 2800
Southfield, MI 48075
